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 1    C. JOE SAYAS, JR. (CA Bar No. 122397)   CHRISTOPHER WARD
      KARL P. EVANGELISTA (CA Bar No. 250685) (SBN 238777)
 2    LAW OFFICES OF C. JOE SAYAS, JR.        FOLEY & LARDNER LLP
 3    500 N. Brand Boulevard, Suite 2000      555 S. Flower Street, Suite 3300
      Glendale, California 91203              Los Angeles, California 90071-2418
 4    Telephone: (818) 291-0088               Tel.: 213.972.4500
      Facsimile: (818) 240-9955               Fax: 213.486.0065
 5
      DAVID P. KING (CA Bar No. 136765)                 KEVIN JACKSON (SBN 278169)
 6    KING CHENG MILLER & JIN, LLP                      FOLEY & LARDNER LLP
      150 N. Santa Anita Ave., Suite 410                11988 El Camino Real, Suite 400
 7    Arcadia, California 91006                         San Diego, California 92130-2594
      Telephone: (626) 304-9001                         Tel.: 858.847.6700
 8    Facsimile: (626) 304-9002                         Fax: 858.792.6774
 9    Attorneys for Plaintiffs                          Attorneys for Defendant
                                                        MENZIES AVIATION (USA), INC.
10
11                               UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
      DORA PATRICIA AMAYA, an                   ) Case No. 2:22-cv-05915-HDV-MARx
14    individual; and ANIBAL SILVA, an          )
15    individual; on behalf of themselves and   ) CLASS ACTION
      others similarly situated,                )
16
                                                ) JOINT MEMORANDUM OF POINTS
17                     Plaintiffs,              ) AND AUTHORITIES RE:
18                                              ) PLAINTIFFS’ MOTION FOR
              vs.                               ) PARTIAL SUMMARY JUDGMENT
19    MENZIES AVIATION (USA), INC., a           )
20    Delaware corporation; and DOES 1          )
      through 10, inclusive,                    ) Date:      June 20, 2024
21                                              ) Time:      10:00 a.m.
22                     Defendants.              ) Judge:     Hon. Hernán D. Vera
23                                              ) Ctrm:      5B, 5th Floor,
                                                )           First Street U.S. Courthouse
24                                              )
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 1                                PLAINTIFFS’ OPENING BRIEF
 2    I.     INTRODUCTION.
 3           In this wage and hour class action, defendant employer Menzies Aviation (USA)
 4    Inc. (“Menzies”) asserted an affirmative defense that purportedly requires all non-
 5    exempt employees to arbitrate their employment claims on an individual basis
 6    (“Arbitration Defense”). Despite knowledge of its contractual right to arbitrate at the
 7    outset, Menzies chose not to move to compel arbitration throughout this 19-month
 8    litigation. Instead, Menzies made a strategic choice to litigate the claims made against it
 9    by Plaintiffs and Class Members.
10           Menzies participated in this class action by, inter alia, a) filing Answers to
11    Plaintiffs First and Second Amended Complaint; b) propounding and responding to
12    extensive discovery which goes beyond the individual claims of named Plaintiffs and
13    encompasses class action matters; c) participating in the adjudication of discovery
14    disputes involving class information and asking relief from the Court to impose notice
15    conditions and obligations on Plaintiffs to pay for the procedures, and to further require
16    Plaintiffs to provide Class Members with certain disclosures; d) participating in
17    meetings with counsel to jointly provide reports and stipulations to the Court on matters
18    involving management of this class action; and e) seeking merits determination and
19    dismissal of Class Members’ wage claims through its Motion for Summary Judgment.
20           By attempting to avail itself of the benefits of this federal judicial forum,
21    including seeking far-ranging judicial relief against Class Members not obtainable in
22    individual arbitrations, Menzies clearly sought to take advantage of litigating in federal
23    court throughout this time. Menzies, therefore, engaged in a series of acts that are
24    clearly inconsistent with its right to arbitrate.
25           For these and other reasons discussed below, including its failure to promptly
26    move to compel arbitration, Menzies effectively waived its contractual right to arbitrate.
27    Hence, Plaintiffs’ Motion for Partial Summary Judgment with respect to Menzies’
28    Arbitration Defense should be granted.

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 1    II.   PERTINENT UNDISPUTED FACTS AND PROCEDURAL HISTORY.
 2          This wage and hour class action alleges the following causes of action: 1) Failure
 3    to Pay Wages for Missed Meal Periods (Cal. Lab. Code §§ 226.7 & 512; 8 Cal. Code
 4    Regs. § 11090 (IWC Wage Order 9), ¶ 11); (2) Failure to Pay Wages for Missed Rest
 5    Periods (Cal. Lab. Code § 226.7; 8 Cal. Code Regs. § 11090 (IWC Wage Order 9), ¶
 6    12); (3) Failure to Reimburse Business Expenses (Cal. Lab. Code § 2802); (4) Failure
 7    to Provide Accurate, Itemized Wage Statements (Cal. Lab. Code § 226); (5) Waiting
 8    Time Penalties (Cal. Lab. Code §§ 201, 202 & 203); (6) Unfair Competition (Cal. Bus.
 9    & Prof. Code §§ 17200 et seq.); and (7) Civil Penalties Under the California Labor
10    Code Private Attorney General Act (Cal. Lab. Code §§ 2698 et seq.). It seeks recovery
11    of wages and penalties on behalf of named Plaintiffs and of approximately 5,462 non-
12    exempt employees (“Class Members”) against their employer, Defendant Menzies
13    Aviation (USA) Inc (“Menzies”).
14          The Complaint was filed on August 19, 2022, by Plaintiff Dora Patricia
15    Amaya(“Amaya”), a Passenger Service Agent employee, on behalf of herself and others
16    similarly situated against her employer, Menzies. Statement of Uncontroverted Facts
17    “SUF” 1. Plaintiffs filed the First Amended Complaint (“FAC”) on August 30, 2022,
18    which added Brayan Lozano Gonzales – a former Ramp Agent of Menzies – as a
19    Plaintiff. SUF 2.
20          A.     Menzies Knew of its Right to Arbitrate.
21          In a September 8, 2022 letter to Plaintiffs’ counsel, Menzies’ counsel stated that
22    Ms. Amaya signed an Alternative Dispute Resolution Agreement (“ADR Agreement”)
23    that purportedly requires her to submit all employment disputes to arbitration, and
24    prohibits her from joining a class action or serving as a class representative. SUF 3. The
25    letter did not state that Menzies would move the Court to compel arbitration, but stated
26    its “trust” that Ms. Amaya would refrain from serving the Summons and Complaint and
27    instead would arbitrate “if she desires to do so.” SUF 4.
28          Plaintiffs’ counsel responded in a September 29, 2022 letter which stated that

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 1    Southwest Airlines Co. v. Saxon, 596 U.S. 450, 142 S.Ct. 1783 (2022) 1 invalidated
 2    Menzies’ purported arbitration agreement. SUF 5. Menzies’ counsel responded by
 3    requesting a two-week extension of time to file a responsive pleading, including a
 4    Motion to Compel Arbitration, as confirmed in an October 11, 2022 email. SUF 6.
 5          B.     Menzies Elected to Participate in this Class Action.
 6          But Menzies did not file a motion in this action to compel Amaya to arbitrate.
 7    SUF 7. Instead, Menzies “elected”, as it admitted in its recent Motion for
 8    Reconsideration, to file an Answer to the FAC, instead of moving to compel arbitration.
 9    SUF 8. Since it made its choice in 2022 to litigate Plaintiffs’ claims in this judicial
10    forum rather than in arbitration, Menzies continues to act consistently with that
11    preferred litigation strategy until the present,
12           Menzies filed its Answer to the FAC on October 25, 2022. SUF 9. Menzies’
13    Answer to the FAC includes a Twenty-Fourth Defense (Arbitration), which alleges that
14    “Plaintiffs and the putative class they seek to represent are required to submit their
15    claims to final and binding arbitration on an individual basis.” SUF 10.
16          C.     Menzies Willingly Provided its Input in the Management of This Case.
17          While stating an arbitration defense, Menzies did not ask leave of Court to
18    be relieved from its case management and discovery obligations as a party in this class
19    action. Neither did it assert its intent to arbitrate. Instead, Menzies’ counsel met-and-
20    conferred and exchanged communications with Plaintiffs’ counsel to discuss discovery
21    and motion matters, as well as scheduling management, including a trial estimate, in
22    this case. SUF 11. From these discussions, the parties filed their “Joint Federal Rule of
23    Civil Procedure 26(f) Report for Scheduling Conference on December 5, 2022. SUF 12.
24    In this Joint Report, Menzies outlined its litigation plan to the Court: that it
25
26
      1In Saxon the United States Supreme Court ruled that ramp agents who physically load
27    and unload cargos are exempt from arbitration under §1 of the Federal Arbitration Act
28    (9 U.S.C. § 1). Generally, any class of workers directly involved in transporting goods
      across state or international borders falls within § 1’s exemption from arbitration.
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 1    “anticipate[d] filing a motion for summary judgment, or summary adjudication, on the
 2    issue of whether one or more of the claims asserted by Plaintiffs are preempted by an
 3    applicable collective bargaining agreement, among others.” SUF 13. Menzies further
 4    represented to the Court that it did “not anticipate filing any motions regarding parties,
 5    claims, amended pleadings, venue, or other procedural matters.” SUF 14.
 6          Menzies further detailed its discovery plan in this case: that it “intend[ed] to
 7    conduct standard written discovery, including propounding interrogatories and
 8    document requests, as well as depositions of both named Plaintiffs.” SUF 15. At no
 9    point did Menzies state any intent to file a motion to compel arbitration. SUF 16.
10          From this Court’s list of ADR Procedures under Local Rule 16-15.4, Menzies
11    elected ADR Procedure No. 1 which involves an appearance before a magistrate judge
12    for settlement proceedings rather than ADR Procedure No. 3 – a private dispute
13    resolution proceeding. SUF 17. Accordingly, the Court entered a Scheduling Order on
14    December 16, 2022 which set discovery and motion schedules based on the parties
15    report. SUF 18.
16          D.     Menzies Pursued Expansive Discovery and Sought Affirmative Relief
17                 from this Court to Regulate the Discovery Process in this Action.
18          On December 2, 2022, Plaintiffs served Interrogatories requesting discovery of
19    the names and contact information of all Class Members but Menzies objected. SUF 19.
20    In a discovery dispute adjudicated before Federal Magistrate Margo A. Rocconi.
21    Menzies sought the following relief from the Court: a) that the Court impose the
22    Belaire-West notice and opt-out procedures that Plaintiffs must follow before Menzies
23    provides the class information; b) that the Court order Plaintiffs to pay the costs of
24    administering the notice and opt-out procedures; and c) that Plaintiffs’ counsel be
25    required to provide certain information or disclosures to Class Members if they
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 1    communicate with them. 2 SUF 20.
 2          On February 6, 2023, the Court denied Menzies’ first two requests for relief,
 3    ordering Menzies to provide the class information without the Belaire-West notice, and
 4    denied Menzies’ “Motion for Plaintiffs to pay the cost of the Belaire-West notice.” SUF
 5    21. However, the Court partly granted Menzies’ third request that Plaintiffs provide
 6    certain disclosures in its communications with Class Members. Id. Subsequently,
 7    Menzies’ counsel met-and-conferred with Plaintiffs’ counsel to jointly prepare and
 8    eventually filed a Stipulated Protective Order (“SPO”). SUF 22. The Magistrate
 9    granted approval of the parties’ proposed SPO on February 24, 2023. Id.
10          Menzies’ counsel coordinated with Plaintiffs’ counsel in jointly preparing a Class
11    Certification Dates Worksheet that contains the parties’ agreed dates on class
12    certification briefings, expert discovery cut-off, expert disclosure, and non-expert
13    discovery cut-off. SUF 23.
14          In a rolling production until March 16, 2023, Menzies then produced voluminous
15    time and pay records including extensive electronic data pertaining to approximately
16    5,462 Class Members. SUF 24. In communications with Class Members that followed,
17    Plaintiffs’ counsel incorporated the disclosures sought by Menzies and which were
18    ordered by the Court. SUF 25.
19
20
21
      2
       Menzies asked the Court to require Plaintiffs’ counsel to include the following
      information in their communications with the employees: (1) inform putative class
22    members at the outset that the member has a right not to communicate with counsel; (2)
23    inform the putative class members that their refusal to speak with counsel will not
      prejudice their rights should the court certify the class; (3) keep a list of all employees
24    who make it known that they do not wish to be contacted and preserve that list for the
25    court; and (4) use the obtained contact information only for purposes of the class action.
26    See Dkt. 28, at 4. Accordingly, the Court ordered the parties to prepare a proposed
      Stipulated Protective Order which in effect granted Menzies’ request requiring
27    Plaintiffs to provide the information and comply with respect to items 1 to 3. The
28    Magistrate ruled that Menzies’ fourth request is unnecessary as a forthcoming
      Protective Order will already provide for that. Dkt. 28, 4-5.
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 1          Menzies participated in extensive discovery in terms of conducting and
 2    responding to various discovery modes within the context of this litigation. SUF 26. It
 3    sought information regarding claims not only of the named Plaintiffs but expanded its
 4    scope to include claims made on behalf of Class Members. SUF 27. Menzies FRCP
 5    Rule 34 Requests for Production of Documents, for instance, sought production of the
 6    following:
 7          REQUEST FOR PRODUCTION NO. 22:
 8
            All DOCUMENTS that RELATE TO YOUR allegation in the COMPLAINT that
 9          DEFENDANT “continue[s] to fail to provide CLASS MEMBERS with all
10          accrued wages and compensation within the time limits prescribed by the
            California Labor Code.” 3
11
12
13
14
      3
       As a class action, Plaintiffs’ operative Second Amended Complaint certainly alleges
      Labor Code violations against the class. Menzies’ broad discovery sought production of
15    other categories of documents relating to class claims. These included the following:
16
            REQUEST FOR PRODUCTION NO. 5: All DOCUMENTS which RELATE TO
17          the allegations of this action or the allegations in the COMPLAINT, including
18          statements, declarations, affidavits, and electronic recordings, but excluding
            pleadings filed and served in this action.
19
20          REQUEST FOR PRODUCTION NO. 6: All DOCUMENTS which RELATE TO
21          any COMMUNICATIONS between YOU and anyone other than YOUR
            attorneys regarding the allegations in the COMPLAINT.
22
23          REQUEST FOR PRODUCTION NO. 7: All DOCUMENTS which RELATE TO
            any written or recorded statements obtained or received by YOU concerning any
24
            of the allegations in the COMPLAINT.
25
26          REQUEST FOR PRODUCTION NO. 10: All DOCUMENTS that RELATE TO
            injuries for which YOU seek damages in the COMPLAINT.
27
28          REQUEST FOR PRODUCTION NO. 20:


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 1    SUF 28.
 2          Within the framework of this litigation, Menzies took the depositions of Plaintiff
 3    Amaya on April 26, 2023, and Plaintiff Silva on May 19, 2023. SUF 34. In both
 4    depositions, Menzies inquired on matters pertaining to claims of the individual
 5    Plaintiffs as well as those other claims made on behalf of the class. SUF 35. In taking
 6    both Plaintiffs’ depositions, Menzies inquired about their qualifications to serve as class
 7    representatives, their knowledge of Menzies operations, and company-wide
 8    employment practices as they apply to other employees and those outside the Plaintiffs’
 9    departments and locations. SUF 36. Meanwhile, Menzies produced its Rule 30(b)(6)
10    designee and six of its managers and participated in multiple depositions noticed by
11    Plaintiffs. SUF 37. Much time was spent between Menzies and Plaintiffs’ counsel in
12    meet-and-confer discussions on arranging managers’ deposition dates and discussing
13    the need to complete these depositions before the class certification briefings. SUF 38.
14    Menzies continued to engage in meet-and-confer discussions on additional depositions
15    and interrogatories that may exceed the number allowed under the Federal Rules of
16    Civil Procedure. SUF 39.
17          Menzies also provided answers to Plaintiffs’ First Set of Interrogatories, while its
18    compliance with Plaintiffs Second Set of Interrogatories remains pending. SUF 40.
19    Moreover, Menzies produced additional categories of documents other than the time
20    and pay records in further response to Plaintiffs’ Rule 34 Request. SUF 41. Menzies
21    and Plaintiffs’ counsel recently completed their prolonged pre-filing meet-and-confer
22    communications on Menzies’ compliance with Plaintiffs’ Interrogatories and Requests
23    for Production in compliance with Local Rule 37-1. SUF 42. On April 2, 2024,
24    Plaintiffs emailed the parties’ request for a Pre-Motion Telephonic Conference with the
25
26
            All DOCUMENTS that RELATE TO YOUR allegation in the COMPLAINT that
27          DEFENDANT has engaged in “unfair business practices.”
28
      SUF 29-33.
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 1    Magistrate Judge and provided three alternative times agreed between the parties, as
 2    required by the Judge’s Procedures on Discovery Motions. SUF 43. If the discovery
 3    disputes are not resolved, Joint Stipulations regarding Plaintiffs’ Motion to Compel
 4    Menzies’ Compliance will be filed for adjudication by the Magistrate Judge. SUF 44.
 5          After electing to file an Answer to Plaintiffs’ First Amended Complaint, Menzies
 6    then stipulated with Plaintiffs to file the Second Amended Complaint (“SAC”). 4 SUF
 7    45. The SAC, filed on May 9, 2023, names Amaya and Anibal Silva (“Silva”) as
 8    Plaintiffs on behalf of themselves and others similarly situated. SUF 46. Silva, another
 9    ramp agent, replaced Brayan Lozano Gonzalez as one of the named Plaintiffs. Id.
10    Menzies again elected to file an Answer to the SAC on June 5, 2023, which similarly
11    asserted a Twenty-Fourth Defense (Arbitration). SUF 47. Up to this point, Menzies still
12    opted not to file a motion to compel arbitration. SUF 48.
13          E.     Without Regard to Whether the Claims of Some Employees are
14                 Unambiguously Excluded from Arbitration under Saxon, Menzies
15                 Sought to Defeat Class Certification of all Employees’ Claims .
16          Plaintiffs filed their Motion for Class Certification on May 22, 2023. SUF 49. In
17    Menzies’ June 12, 2023 Opposition to the Motion for Class Certification, it asserted:
18                 “At all times during the class period, Menzies has maintained an
19          Alternative Dispute Resolution mechanism by which employees waive their right
20          to present various claims – including all the class claims at issue here – in any
21          forum other than binding individual arbitration. [[Declaration of Talin
22          Bazerkanian] ¶¶ 6-7, Ex. H.] Pursuant to that policy, each employee who enters
23          into an ADR Agreement agrees that the ADR Policy ‘prohibits you from joining
24
25    4
        Menzies entered into other stipulations with Plaintiffs that were submitted for this
26    Court’s approval that relate to management of this litigation. Menzies for instance, also
      stipulated with Plaintiffs to extend discovery and motion deadlines, and coordinated
27    with Plaintiffs on jointly preparing a Class Certification Dates Worksheet that contains
28    the parties agreed dates on class certification briefings, expert discovery cut-off, expert
      disclosure, and non-expert discovery cut-off. See Dkt. 19, Dkt. 32, Dkt. 34, Dkt. 36.
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 1          or otherwise participating in a class action or as a collective action representative,
 2          or otherwise consolidating a covered claim with the claims of others.’ [Id.]
 3          Virtually all of Menzies’ California non-exempt employees are subject to the
 4          ADR Policy – including both Plaintiffs and every one of the declarants relied
 5          upon by Plaintiffs in support of their Motion. [Id. ¶ 8.]” 5 SUF 50.
 6    Despite the foregoing statement in its Opposition, Menzies failed to move the Court for
 7    an order compelling Amaya, Silva, or any of the declarants in support of Plaintiffs’
 8    Motion for class certification, or to assert its intent to file such motion to compel
 9    arbitration. SUF 53. Instead, Menzies opted to defeat class certification of all claims,
10    whether arbitrable or not.
11          F.     Menzies Continued to Provide its Input in the Management of this
12                 Class Action.
13          On July 10, 2023, the parties filed a Joint Case Management Statement per
14    Court’s Reassignment Order. SUF 54. In the Joint Case Management Statement,
15    Menzies mentioned arbitration, although to the limited extent that it disputed Plaintiffs’
16    claims as suitable for class treatment, including that “the vast majority of the putative
17    class is subject to enforceable arbitration agreements.” SUF 55. Notwithstanding this
18    statement, Menzies again failed to move nor assert any intent to move the Court for an
19    order compelling arbitration. Id.
20          On July 27, 2023, the parties filed a Joint Rule 26(f) Report for August 24, 2023
21    Scheduling Conference. SUF 56. Menzies restated that “the vast majority of the
22    putative class is subject to enforceable arbitration agreements.” SUF 57. Again,
23    Menzies did not assert any intent to file a motion to compel arbitration, but reiterated its
24    prior representation to the Court in 2022 that “Menzies does not anticipate filing any
25    motions regarding parties, claims, amended pleadings, venue or other procedural
26
27    5
       Notwithstanding this assertion, Menzies acknowledges that its Ramp Agent
28    employees, like Plaintiff Silva, are “not so disqualified” from serving as class
      representatives and or participating in class actions under Saxon. SUF 51.
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 1    matters.” SUF 58. Menzies did, however, state that it “anticipate[d] filing a motion for
 2    summary judgment, or summary adjudication, on the issue of whether one or more of
 3    the claims asserted by Plaintiffs are preempted by an applicable collective bargaining
 4    agreement, among others.” SUF 59. Menzies, like Plaintiffs, requested the Court for a
 5    jury trial on the class claims. SUF 60. Menzies reaffirmed its prior selection of ADR
 6    Procedure No. 1, indicating Menzies’ choice to seek the assistance of a magistrate judge
 7    for settlement of the claims made against it in this litigation. SUF 61.
 8          G.     Menzies Sought This Court’s Order to Dismiss the Wage
 9                 Reimbursement Claims of Plaintiffs and Class Members
10          On September 14, 2023, Menzies filed a Motion for Partial Summary Judgment.
11    SUF 62. Menzies sought judgment from this Court to dismiss the entire Third Cause of
12    Action in the SAC for failure to indemnify Plaintiffs and Class Members for business
13    expenses they incurred in the discharge of their duties in violation of California Labor
14    Code § 2802. SUF 63. An adjudication of this motion by this Court in Menzies’ favor
15    would have adversely impacted the wage reimbursement claims not only of named
16    Plaintiffs but also of the entire class. 6 SUF 64. Here, it sought significant relief from
17    this Court, moving to obtain the benefit of dismissing the entire class reimbursement
18    claims against it, which Menzies otherwise would not have obtained in arbitration. Id.
19    The Court denied Menzies’ Motion for Partial Summary Judgment on December 7,
20    2023. SUF 65.
21          On February 8, 2024, the Court granted Plaintiffs’ Motion for Class Certification,
22    including with respect to Plaintiffs’ Section 2802 reimbursement claim. SUF 66. On
23    February 22, 2024, Menzies filed a motion for reconsideration of the Court’s order
24    granting Plaintiffs’ motion for class certification. SUF 66. In its motion, Menzies asserts
25
26    6
       Menzies’ sought for relief is so encompassing that if it had its way, there would not
27    even be an opportunity at any arbitration to adjudicate similar claims of non-exempt
28    employees whose claims may arguably be arbitrable.


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 1    that “the Court certified a class containing thousands of individuals across dozens of job
 2    classifications that do not have standing to participate in class action litigation generally
 3    and this class specifically – including Plaintiff Amaya.” SUF 68. Menzies did not,
 4    however, move nor assert an intent to file any motion(s) to compel any of those
 5    thousands of individuals to proceed to individual arbitrations. 7 SUF 69.
 6    III.   MENZIES WAIVED ITS CONTRACTUAL RIGHT TO COMPEL
 7           ARBITRATION AND ITS WAIVER WARRANTS SUMMARY
 8           ADJUDICATION OF ITS ARBITRATION DEFENSE AS A MATTER OF
 9           LAW.
10           A.    FED. R. CIV. PROC. 56(a) Authorizes Summary Adjudication of
11                 Affirmative Defenses.
12           “A party may move for summary judgment, identifying each claim or defense –
13    or the part of each claim or defense – on which summary judgment is sought. The court
14    shall grant summary judgment if the movant shows that there is no genuine dispute as to
15    any material facts and the movant is entitled to judgment as a matter of law.” FED. R.
16    CIV. PROC. 56(a); see also FED. R. CIV. PROC. 56(g) (the court “may enter an order
17    stating any material fact – including an item of damages or other relief – that is not
18    genuinely in dispute and treating the fact as established in the case”).
19           Partial summary judgment is an appropriate procedural mechanism for evaluating
20    whether Menzies has waived its right to compel arbitration. See Nelson v. Insignia/Esg,
21    Inc., 215 F.Supp.2d 143, 147 (D.D.C. 2002) (“summary judgment is the proper
22    procedural mechanism to use in evaluating whether the plaintiff must submit her claims
23    to arbitration”); Little Traverse Bay Bands of Odawa Indians v. Snyder, 194 F.Supp.3d
24
25    7
        If the arbitration agreements were to be enforced, Menzies faces the burden of bearing
26    the entire costs of “the arbitrator’s fees and expenses and costs associated with the
      facilities for the arbitration,” as well as its own attorney’s fees, in each of those
27    hundreds, if not thousands of individual arbitrations. See Dkt. 50-2, Page 41 of 45
28    (“Fees and Costs of Arbitration”). Understandably, a chosen strategy of continued
      litigation and seeking relief from this Court is beneficial to Menzies.
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 1    648, 651 (W.D. Mich. 2016) (“Courts may dismiss an insufficient defense on summary
 2    judgment, as whether a defense may lie is often ‘solely [an issue] of law.’”); Wright &
 3    Miller, 10B Fed. Prac. & Proc. Civ. § 2737 (4th ed.) (“A partial summary judgment [of
 4    an affirmative defense] seems particularly appropriate and several courts have so
 5    ruled.”), citing inter alia International Ship Repair and Marine Services, Inc. v. St. Paul
 6    Fire and Marine Ins. Co., 944 F.Supp. 886, 891 (M.D. Fla. 1996) (“partial summary
 7    judgment may be used by the Court to dispose of affirmative defenses”).
 8          B.     By its own Actions and Inaction, Menzies Waived its Contractual
 9                 Right to Arbitration.
10          “The right to arbitration, like other contractual rights, can be waived.” Martin v.
11    Yasuda, 829 F.3d 1118, 1124 (9th Cir. 2016). The United States Supreme Court held in
12    Morgan v. Sundance, Inc., 596 U.S. 411, 417 (2022) that the rule of waiver does not
13    require prejudice to the non-moving party, and that the focus of analysis is on the
14    actions of the person who holds the right. In addition, a policy favoring arbitration
15    “does not authorize federal courts to invent special, arbitration-preferring procedural
16    rules.” Id. at 418. “The federal policy is about treating arbitration contracts like all
17    others, not about fostering arbitration.” Id. Hence, “the burden for establishing waiver
18    of an arbitration agreement is the same as the burden for establishing waiver in any
19    other contractual context.” Armstrong v. Michaels Stores, Inc., 59 F.4th 1011, 1015 (9th
20    Cir. 2023). After Morgan, the burden of showing waiver of the right to arbitrate “is no
21    longer ‘heavy.’” Id. at 1014.
22          Now, “the rule of waiver of the right to arbitrate … is nothing more than the
23    general rule of waiver of a contractual right.” Hill v. Xerox Business Services, LLC, 59
24    F.4th 457, 460 (9th Cir. 2023). “[A] party waives its right to compel arbitration when
25    (1) it has knowledge of the right, and (2) it acts inconsistently with that right.” Id.
26          “In the Ninth Circuit, ‘[t]here is no concrete test to determine whether a party has
27    engaged in acts inconsistent with its right to arbitrate; rather, [courts] consider the
28    totality of the parties’ actions.’” Salas v. Toyota Motor Sales, U.S.A., Inc., Case No.

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 1    2:15-cv-08629-HDV-E, 2024 WL 606166 *7 (C.D. Cal. Jan. 10, 2024), Newirth v.
 2    Aegis Senior Communities, LLC, 931 F.3d 935, 940 (9th Cir. 2019), abrogated on other
 3    grounds in Morgan, 596 U.S. at 417-19. “Where the waiver of the right to compel
 4    arbitration implicates questions of arbitrability that ‘affect the allocation of power’
 5    between a court and arbitrator, [the Ninth Circuit has] applied a federal law standard for
 6    determining whether an arbitration agreement has been waived.” Newirth, 931 F.3d at
 7    1121.
 8                  1.     Menzies Knew of Its Contractual Right to Arbitration Since at
 9                         Least September 8, 2022, When Menzies Informed Plaintiffs’
10                         Counsel that Plaintiff Amaya is Party to a Purported Arbitration
11                         Agreement.
12            There is no dispute that Menzies has known of its allegedly existing right to
13    arbitrate since the outset of this case. Menzies’ counsel wrote a September 8, 2022 letter
14    to Plaintiffs’ counsel in which Menzies informed Plaintiffs of their purported obligation
15    to arbitrate the disputes alleged in the Complaint. SUF 3. It is even reasonable to
16    assume that Menzies knew of this contractual right much earlier because it admits that
17    “virtually all of Menzies’ California non-exempt employees are subject to the ADR
18    Policy.” SUF 50; see Dkt. 50, Page 10 of 23, at lines 6-15.
19            There was never any impediment to Menzies timely filing a motion to compel
20    arbitration if it actually intended to exercise that right. Nor can Menzies persuasively
21    contend that it could not file a motion to compel arbitration until after the class was
22    certified, when Menzies knew who the class members are. First, the Ninth Circuit
23    rejected the argument that it is not possible to waive the right to arbitrate before the
24    class is certified: “[W]e have never suggested that for waiver purposes, knowledge of
25    an existing right to arbitrate requires a present ability to move to enforce an arbitration
26    agreement.” 59 F.4th at 469. Second, Menzies itself asserted that it intended to respond
27    to the FAC in 2022 with a “motion to compel arbitration,” but then it “elected” not to
28    file it after all. Third, Menzies knew in 2022 that Amaya was supposedly bound by an

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 1    arbitration agreement (SUF 3), but even now Menzies has failed to move to compel her
 2    – or anyone else – to arbitrate.
 3                 2.     Menzies Has Acted in Many Ways that are Inconsistent with its
 4                        Existing Right to Arbitration.
 5          A party waives the right to compel arbitration when it makes a “strategic choice
 6    to engage the judiciary for resolution of the class claims rather than to obtain a
 7    resolution from an arbitrator” (Hill, 59 F.4th at 477). This is precisely what occurred
 8    here. At the outset, with full knowledge of its right to arbitrate against Amaya, Menzies
 9    elected to file its Answer to the FAC, and equally elected not to move for arbitration.
10    See SUF 3-7. Menzies’ overall conduct throughout this action reveals the pursuit of its
11    preferred litigation strategy in an effort to take advantage of and benefit from litigating
12    in federal court. Menzies has continued and continues to act in many other ways that are
13    inconsistent with a right to compel arbitration.
14          First, Menzies filed its Motion for Partial Summary Judgment seeking merits
15    determination in effort to dismiss Plaintiff’s entire Third Cause of Action for failure to
16    indemnify Plaintiffs and other Class Members for expenses incurred during the
17    performance of their job duties, in violation of Cal. Labor Code § 2802. SUF 62-64;
18    Dkt. 65. “[A]ctively litigating” the merits through the filing of a motion for partial
19    summary judgment “most clearly” shows “a tactical choice to resolve the claims
20    judicially” (Hill, 59 F.4th at 473, 476), and it is therefore “most instructive” on the
21    waiver issue (Salas, 2024 WL 606166 *7). Here, Menzies argued that federal
22    preemption under the Labor Management Relations Act, specifically the employees’
23    alleged failure to abide by the CBA, bars the employees’ reimbursement claims.
24    Menzies represents to the Court that “virtually all the non- exempt employees
25    performing services provided directly to airline customers are represented by one of the
26    several unions at Menzies, all pursuant to a series of collective bargaining agreements.”
27    Dkt 65-1, at 3;6-10. Had Menzies’ preemption argument been sustained, therefore, it
28    would have foreclosed the claims of all Class Members.

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 1          In its Motion, Menzies strongly argued not only against the merits of the claims
 2    made on behalf of Plaintiffs, but also of all Class Members. Menzies cast an overly
 3    wide net of remedies against phone reimbursement claims of all employees, without
 4    even distinguishing whether these claims are arbitrable or not. 8 Dkt. 65-1.
 5          Here, as in Hill, if Menzies’s motion for partial summary judgment had been
 6    successful, “it would have struck an arrow through the heart of all class members’
 7    claims” for reimbursement for the business use of their personal cell phones. See Hill,
 8    59 F.4th at 476. As mentioned, such a hugely beneficial outcome for Menzies could not
 9    have been a relief it could have obtained in individual arbitrations. Menzies knew it is a
10    result that can aggressively be pursued and obtained only in court. This is “clear”
11    evidence of a “strategic choice to engage the judiciary for resolution of the class claims
12    rather than to obtain a resolution from an arbitrator.” Id. at 477.
13          With focus on its conduct, Menzies “knowingly decided to defer its right to
14    compel arbitration to avail itself of the benefits of the federal court forum, an intentional
15    action inconsistent with its known right to arbitration.” Newirth, 931 F.3d at 942.
16          Second, Menzies actively participated in submission of Joint Reports and filings
17    related to the Court’s management and handling of this case. Notably, Menzies twice
18    advised the Court – in the parties’ Joint Rule 26(f) Reports (Dkts. 19 and 58) – that
19    Menzies did not intend to file any procedural motion. SUF 14, 58. Most recently, in the
20    July 27, 2023 Joint Report Menzies advised the Court that it “does not anticipate filing
21    any motions regarding parties, claims, amended pleadings, venue, or other procedural
22    matters.” See SUF 58; Dkt. 58, at 6:23-25. A motion to compel arbitration is procedural
23    and not substantive motion because it seeks an arbitral rather than judicial forum – not a
24    decision on the merits of the parties’ underlying dispute. See Federal Arbitration Act, 9
25
26    8
       Menzies, for instance, sought dismissal of Plaintiff Silva’s reimbursement claims
27    based on its flawed merits argument. In its overreach to dismiss the entire class claims,
28    Menzies advanced this all-encompassing argument before this Court tellingly after
      admitting that ramp agents like Silva are excluded from arbitration under Saxon.
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 1    U.S.C § 4 (authorizing petition for order directing that arbitration proceed) and § 6
 2    (application “shall be made and heard in the manner provided by law for the making
 3    and hearing of motions…”).
 4          This case is therefore like Slaten v. Experian Information Solutions, Inc., Case
 5    No. CV 21-09045-MWF (Ex), 2023 WL 6890757 (C.D. Cal. Sept. 6, 2023), in which
 6    the defendant “made representations to the Court suggesting that it would not seek to
 7    compel arbitration.” Id. *5. Although Menzies noted its awareness of the arbitration
 8    issue in its portion of the parties’ Joint Rule 26(f) Reports and stated its intention to file
 9    a summary judgment motion, Menzies did not advise the Court that Menzies intended
10    to act upon its purported right to arbitrate by actually filing a motion to compel
11    arbitration. A party like Menzies is “at risk” of waiver where, as here, it “failed to
12    provide notice of its intention to seek arbitration” and “such notice was needed to
13    correct the impression of waiver.” Hill, 59 F.4th at 481.
14          Third, Menzies actively engaged in extensive discovery in this class action,
15    including discovery of class claims that would not have been available to it in
16    arbitration. See SUF 26-44. Menzies also participated in a discovery dispute that was
17    adjudicated by Magistrate Judge Rocconi. SUF 20. As mentioned, Menzies even
18    actively moved to obtain various types of affirmative relief from the Court. It sought an
19    order from the Court to impose the Belaire-West notice and opt-out procedures which
20    would have prolonged the discovery process. It sought an order from the Court to
21    further require Plaintiffs to assume the burden and pay the costs of these procedures.
22    Both requests were denied. SUF 21. However, Menzies’ requested court order that
23    Plaintiffs provide certain disclosures in its communications with Class Members was
24    granted. This latter Order sought by Menzies, although not opposed by Plaintiffs,
25    regulated the manner and process by which Plaintiffs communicated with Class
26    Members. SUF 21, 25.
27          As noted above, Menzies participated in submitting two Joint Rule 26(f) Reports
28    where it provided the Court with its discovery plan. SUF 12-15, 56. Menzies took

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 1    depositions of the two named Plaintiffs where it additionally inquired about information
 2    relevant to the class claims. SUF 34-35. In deposing both Plaintiffs, Menzies probed
 3    matters beyond individual claims of the named Plaintiffs; It broadly inquired about
 4    Plaintiffs’ qualifications to serve as class representatives, their knowledge of Menzies
 5    operations, and company-wide employment policies and practices that affect other
 6    employees, and those Class Members outside the Plaintiff’s departments and locations.”
 7    SUF 35. Menzies served Rule 34 Requests for Production to the Plaintiffs where it
 8    similarly sought information relevant to both the individual Plaintiffs and the class
 9    claims. See SUF 27-33.
10          Menzies’ act of conducting such an overexpansive discovery constitutes an act
11    that is inconsistent with its right to compel arbitration. The Ninth Circuit found waiver
12    of the right to arbitrate when defendant employer “sought to take advantage of litigation
13    in federal court by requesting extensive discovery on unnamed parties to the case.” Hill,
14    59 F.4th 474. Such extensive discovery requests “serve as evidence that XBS wanted to
15    challenge judicially the merits of the claims that the merits of the claims that the
16    putative class members were underpaid.” Id. at 474-75.
17          Menzies responded to Plaintiffs’ discovery by participating in deposition of seven
18    of Menzies’ managers. SUF 37. Menzies’ counsel engaged in numerous and time-
19    intensive meet-and-confer discussions regarding the parties’ discovery, from discussing
20    the necessity of certain depositions and scheduling, to compliance with interrogatories
21    and requests for documents. SUF 38. Menzies’ counsel worked with Plaintiffs’ counsel
22    in jointly drafting the SPO which was approved by the Court for compliance by the
23    parties in their communications with Class Members and the handling of class
24    information in this case. SUF 22. Menzies produced the requested contact information
25    of the class following the Magistrate’s Order. Menzies produced voluminous documents
26    including electronic data on Class Members in response to Plaintiffs’ requests for
27    production. SUF 24.
28          Courts have found that this kind of active participation in discovery supports a

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 1    finding of waiver. See Martin, 829 F.3d at 1126 (“defendant engaged in conduct
 2    inconsistent with their right to arbitrate” by “entering into a protective order, answering
 3    discovery, and preparing for an conducting a deposition”); Slaten, 2023 WL 6890757
 4    *5 (defendant “intentionally abandoned its right to arbitration” when it “met and
 5    conferred with Plaintiff’s counsel, joined a motion for a protective order, sought to
 6    extend discovery deadlines multiple times, responded to written discovery, produced
 7    documents, participated in discovery conferences, and submitted a Joint Rule 26(f)
 8    Report”) (collecting cases).
 9          Fourth, Menzies vigorously opposed Plaintiffs’ Motion for Class Certification
10    without filing any motion to compel arbitration. SUF 50. While Menzies mentioned that
11    employees’ claims are subject to individual arbitration in its Opposition, it raised the
12    issue only from the standpoint of adequacy and typicality. Menzies did not argue in its
13    Opposition though that the impact of the arbitration agreement be addressed first before
14    a class is certified, and it should not be allowed to make this belated argument now.
15    Neither did it move to compel arbitration and seek resolution of the issue before the
16    parties and the Court embarked on the rigorous task of determining whether FRCP Rule
17    23 requirements have been met.
18          Menzies’ litigation strategy is not to refine the scope of the class as it did not
19    move that only those excluded from arbitration under Saxon should be class members.
20    Instead, Menzies went all in seeking this Court’s judgment to defeat class certification
21    for the entire Class Members. 9 Similar to its litigation strategy of aggressively moving
22    for this Court’s summary judgment to dismiss all reimbursement claims alleged in the
23    Second Amended Complaint, Menzies boldly sought judicial resolution for its benefit
24    against the entire class of non-exempt employees. Menzies did so without regard to
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26
      9In its Opposition to Plaintiffs’ Motion for Class Certification, Menzies asked the Court
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      as follows: “The Court should therefore deny the Motion in its entirety.” Dkt. 60, at p.
28    25, lines 21-22.

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 1    whether the claims of other employees, like ramp agents as Plaintiff Silva, are clearly
 2    excluded from arbitration. 10 Menzies’ behavior in litigation reveals its strategic choice
 3    to engage the judiciary for resolution of the class claims rather than a resolution from an
 4    arbitrator. Salas, 2024 WL 606166 *9 (“’A party cannot keep its right to demand
 5    arbitration in reserve indefinitely while it pursues a decision on the merits before the
 6    district court.’ …Toyota’s reference to an unspecified number of arbitration agreements
 7    in its opposition to class certification evinced an express purpose of defeating class
 8    certification entirely rather than refining the scope of the class.”), quoting In re Mirant
 9    Corp., 613 F.3d 584, 591 (5th Cir. 2010).
10          Fifth, Menzies unabashedly sought to further avail itself of the Court’s resources
11    by electing to request the assistance of a Magistrate Judge on settlement of the claims
12    against it in this litigation while maintaining its arbitration defense. When the parties
13    advised the Court about their choice of a mandatory ADR procedure, Menzies did not
14    assert that the dispute should be resolved by arbitration – which is one of the
15    permissible options under L.R. 16-15.4. Menzies instead agreed with Plaintiffs that it
16    would be most appropriate for the parties to mediate before a magistrate judge. SUF 17,
17    61. Menzies’ choice of an ADR Procedure that necessarily involves the Magistrate’s
18    participation “strongly indicates” that Menzies “acted inconsistently for the purpose of
19    finding waiver.” Sequoia Benefits & Insurance Services, LLC v. Constantini, 553
20    F.Supp.3d 752, 759 (N.D. Cal. 2021).
21          Finally, Courts generally find waiver when a party like Menzies fails to timely
22    act on its right to compel arbitration early in a case and instead actively litigates the
23    merits in the district court. See Martin, 929 F.3d at 1125 (“[A] party’s extended silence
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      10
        In its Order granting class certification, the Court specifically addressed the issues of
      typicality and adequacy in relation to arbitration as raised by Menzies. It correctly
27    found that Amaya, as a signatory to the same arbitration agreement, “is well-positioned
28    to represent the interests of employees who do not unambiguously fall under Saxon.”
      See Dkt. 69, 9:16-17.
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 1    and delay in moving for arbitration may indicate a ‘conscious decision to continue to
 2    seek judicial judgment on the merits of [the] arbitrable claims,’ which [is] inconsistent
 3    with a right to arbitrate.”). Menzies even now has not filed any motion to compel
 4    arbitration, and it has delayed filing any such motion for the entire time since it
 5    “informed” Plaintiffs’ counsel of Amaya’s purported agreement to arbitrate. SUF 3, 69.
 6          Delays of less than nineteen months have resulted in waiver. See, e.g., Martin,
 7    829 F.3d at 1122 (affirming finding of waiver where “almost seventeen months after the
 8    start of the case, the defendants actually moved to compel individual arbitration”);
 9    Alvarez v. Sheraton Operating Corp., Case No. 22-55729, 2023 WL 2491279 *1 (9th
10    Cir. 2023) (affirming finding of waiver where “Appellants asserted preemption by the
11    Federal Arbitration Act as an affirmative defense in their answer and then waited eight
12    months before moving to compel arbitration.”); Bogart v. RTW Retailwinds Acquisition
13    LLC, Case No. SACV 23-01268-CJC (DMFx), 2024 WL 898925 (C.D. Cal. Feb. 14,
14    2024) (“Defendants acted inconsistent with their right to arbitrate by actively and
15    substantively participating in this litigation for nearly six months before filing a motion
16    to compel arbitration.”); Slaten, 2023 WL 6890757 *4 (five-month delay).
17          Relatedly, it is of no moment that Menzies raised the arbitration issue in its
18    answers, Joint Reports, and other filings, because “[a] statement by a party that it has a
19    right to arbitration in pleadings or motions is not enough to defeat a claim of waiver.”
20    Salas, 2024 WL 606166 *9, quoting Martin, 829 F.3d at 1125; see also Hill, 59 F.4th at
21    461, 466 (finding waiver despite citation of waived arbitration agreements in answer,
22    and arguments about arbitration agreements in opposition to class certification);
23    Hooper v. Advance America, Cash Advance Ctrs. of Missouri, Inc., 589 F.3d 917, 923
24    (8th Cir. 2009) (“A reservation of rights is not an assertion of rights.”).
25                 3.     Allowing Menzies to Maintain its Arbitration Defense Prejudices
26                        Plaintiffs and Class Members
27          As mentioned above, it is not necessary for the party asserting waiver to prove
28    prejudice. Morgan, 596 U.S. at 417. However, it is important to note that the Court and

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 1    the parties have spent considerable time and energy into this hard-fought litigation for
 2    the last nineteen months. Throughout this litigation, there have been adjudications
 3    involving disputed issues on disclosure and production of evidence for the entire class
 4    of non-exempt employees, rigorous analysis of whether this case meets class
 5    certification requirements, and the merits determination of wage reimbursement claims
 6    of the class. In addition, the parties have engaged in extensive discovery, participated in
 7    numerous conferences, exchanges of correspondence and emails, and jointly submitted
 8    reports and stipulations to the Court that governed the management and handling of this
 9    class action. Allowing Menzies to belatedly enforce its contractual right to compel
10    resolution of these claims in individual arbitrations now or at some future time
11    prejudices Plaintiffs and the Class Members. It would cause undue delays in resolving
12    the class claims against Menzies for its multiple violations of employment laws and
13    deny justice to thousands of its non-exempt employees.
14          Now that the class has been certified, post-certification discovery should proceed
15    expeditiously to enable the parties to adequately prepare for trial. Menzies cannot keep
16    its right to arbitrate in reserve indefinitely. In a case where waiver of the employer’s
17    right to arbitrate in a class action was found, the Court warned of an outcome that
18    militates against the efficient administration of justice: Defendant’s invocation of the
19    class action waiver enforceable through arbitration after unsuccessful attempts to secure
20    relief in court could “potentially force this and other courts to hold separate trials of
21    dozens, or hundreds, or even thousands of cases involving extensively overlapping
22    issues. Such a result is flatly inconsistent with the governing Rules, which are to be
23    ‘construed and administered to secure the just, speedy, and inexpensive determination
24    of every action and proceeding.’ FED.R.CIV.P. 1.” In re Marriott Int'l Customer Data
25    Sec. Breach Litig., 345 F.R.D. 137, 146 (D. Md. 2023).
26    IV.   CONCLUSION.
27          It is undisputed that, with its chosen litigation strategy, Menzies engaged in
28    multiple and prolonged acts inconsistent with its contractual right to arbitration.

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 1    Menzies should therefore be deemed to have waived its right to arbitration. For all the
 2    reasons set forth herein, Plaintiffs respectfully request that the Court issue an Order
 3    granting Partial Summary Judgment, finding that there is no genuine dispute as to any
 4    material fact and that Plaintiffs are entitled to judgment as a matter of law with respect
 5    to Menzies’ Twenty-Fourth affirmative defense of arbitration.
 6
 7    DATED: April 4, 2024                    LAW OFFICES OF C. JOE SAYAS, JR. and
 8                                            KING CHENG MILLER & JIN LLP
 9
10                                            By:     /s/ C. Joe Sayas, Jr.
11                                                  C. JOE SAYAS, JR.
                                                    KARL P. EVANGELISTA
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                                                    Attorneys for Plaintiffs
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 1                            DEFENDANT’S OPPOSITION BRIEF
 2    I.    INTRODUCTION
 3          Perhaps realizing that In re Marriott Int’l, Inc., 78 F.4th 677 (4th Cir. 2023) will
 4    mean they overreached in arguing to this Court that it was appropriate for them to
 5    propose for certification a class substantially comprised of individuals without standing
 6    to participate, Plaintiffs have suddenly turned to waiver arguments presumably hoping
 7    to preserve their class from its inherent legal problems highlighted by Menzies’ pending
 8    Motion for Reconsideration and Petition for Review before the Ninth Circuit. But in
 9    making such arguments and relying heavily on Hill v. Xerox Bus. Servs., LLC, 59 F.4th
10    457 (9th Cir. 2023) and this Court’s recent application of Xerox in Salas v. Toyota
11    Motor Sales, U.S.A., Inc., No. 2:15-CV-08629-HDV-E, 2024 WL 606166 (C.D. Cal.
12    Jan. 10, 2024), Plaintiffs not only fail to understand the significant differences between
13    those cases and this matter, they also ignore the implications of their own strategic
14    actions, legal arguments, and current Ninth Circuit litigation in which Menzies is
15    addressing identical arbitration-related legal questions that potentially dramatically
16    affect this case. Plaintiffs have undertaken an intentional course of action that has made
17    a motion to compel arbitration a practically pointless and inefficient-at-this-stage
18    exercise and that has mandated Menzies engage in the very steps Plaintiffs point to as
19    purported actions inconsistent with preservation of its arbitration rights. They also
20    ignore that until Menzies identified how Marriott supports its concerns about
21    certification of a class including individuals subject to arbitration, they argued
22    arbitration helped their arguments for class certification, and only after so using
23    arbitration as a sword do they now try to shield themselves from its impact.
24          The circumstances here are nowhere close in character to those that supported
25    waiver in Xerox and Salas. In fact, Menzies’ course of conduct in this litigation mirrors
26    the conduct in Xerox that the courts explicitly found to be appropriate and used to
27    juxtapose against other facts to demonstrate waiver. Menzies has from the outset
28    identified arbitration as critical to this case, and after Plaintiffs strategically added ramp

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 1    agents as parties to avoid arbitration, Menzies has consistently noted it as a central part
 2    of its legal strategy. These actions, especially when viewed in context with the
 3    imminent decision from the Ninth Circuit in Lopez v. Aircraft Serv. Int’l, Inc. and
 4    Menzies Aviation (USA), Inc., Case No. 23-55015, show Menzies has acted consistently
 5    with the intent to assert its arbitration rights, and require denial of Plaintiffs’ motion.
 6    II.    PERTINENT FACTS AND PROCEDURAL HISTORY
 7           A.    Menzies Has Maintained The ADR Policy And Consistently Enforced
 8                 Its Arbitration Rights For More Than A Decade
 9           Following the Supreme Court’s ruling in AT&T Mobility LLC v. Concepcion, 563
10    U.S. 321 (2011), Menzies implemented an Alternative Dispute Resolution Policy
11    (“ADR Policy”) for all employees at its locations in the United States, including its
12    employees in California, that includes a waiver of the right to participate in class or
13    otherwise representative action litigation. [See Menzies’ Additional Material Facts
14    (“AMF”), 70-71.] For the period relevant to this Action, virtually 100% of Menzies’
15    non-exempt current and former employees in California have bound themselves to the
16    ADR Policy, with the handful of opt-outs limited to exempt management personnel.
17    [AMF 72.] Until the filing of the Lopez case, Menzies has successfully relied upon the
18    ADR Policy in response to every threat or specter of class action litigation, dissuading
19    multiple sets of employee-side lawyers from bringing such litigation and/or securing the
20    immediate dismissal of such class action without the need for motion practice. [AMF
21    73.]
22           B.    The Lopez Litigation And The Ninth Circuit’s Ruling On How Saxon
23                 Applies To Menzies Is Critically Important To This Case
24           On July 21, 2021, a former employee of Menzies’ into-plane fueling operation
25    filed a single cause of action Private Attorneys General Act (“PAGA”) complaint
26    currently captioned Lopez v. Aircraft Serv. Int’l, Inc. and Menzies Aviation (USA), Inc.,
27    Case No. 2:21-cv-07108 (C.D. Cal). [AMF 74 (citing Lopez Dkt. 1.] Lopez was the
28    first PAGA-only action filed against Menzies, and at the time of its filing, the rule of

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 1    Iskanian v. CLS Transp., 59 Cal. 4th 348 (2014) exempting PAGA actions from
 2    arbitration remained valid California law. [AMF 75.] However, given that the
 3    Supreme Court had Viking River Cruises, Inc. v. Moriana, 596 U.S. ___ (2022) under
 4    consideration at the time, Menzies initially moved to stay the Lopez case pending the
 5    result of Viking River. [AMF 76.] In June 2022, the Supreme Court issued two
 6    landmark opinions in Viking River and Southwest Airlines Co. v. Saxon, 596 U.S. 450,
 7    ___ (2022), the latter of which held that “ramp agents” who load cargo and baggage
 8    onto passenger aircraft are exempt “transportation workers” under Section 1 of the
 9    Federal Arbitration Act. Both decisions portended significant impacts on the Menzies
10    ADR Policy and the scope of its enforceability within California.
11          Consistent with its pattern of enforcing the ADR Policy, on July 14, 2022 – just
12    weeks after Viking River struck down the Iskanian rule and before Plaintiffs
13    commenced the instant action – Menzies moved to compel arbitration in Lopez. [AMF
14    78.] Lopez opposed on multiple grounds, but as relevant here, on December 13, 2022
15    the Hon. Dolly M. Gee accepted Lopez’s argument that Saxon’s reasoning also applies
16    to aircraft fuelers despite the fact that such individuals themselves have no role in the
17    loading or unloading of baggage or cargo and thus arguably expanding Saxon’s reach to
18    aspects of Menzies’ business beyond those working in the “ramp agent” classification
19    based on a “so closely related to interstate commerce” analysis. [AMF 79-80.]
20    Believing Judge Gee’s analysis to be at odds with Saxon in ways that create significant
21    uncertainty as to which Menzies job classifications are and are not “transportation
22    workers,” Menzies quickly appealed on January 9, 2023, the Order denying its Motion
23    to Compel Arbitration. [AMF 81.] Simultaneous to the preliminary litigation steps
24    occurring in this Action, Menzies and Lopez briefed that appeal throughout the spring
25    and summer of 2023, finally completing such briefing with Menzies’ Reply Brief filed
26    on October 19, 2023 – less than a week before this Court heard argument on class
27    certification in this action. [AMF 82.] The Ninth Circuit held oral argument on January
28    8, 2024 but has yet to issue a decision on the Lopez appeal. [AMF 83.] However, on

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 1    March 12, 2024, a different panel of the Ninth Circuit published Ortiz v. Randstad
 2    Inhouse Servs., LLC, -- 4th -- (9th Cir. 2024), No. 23-55147, which Menzies believes
 3    directly supports its arguments for why Judge Gee erred and the “transportation
 4    worker” exemption should apply only to its “ramp agent” job classification.
 5          Menzies notified this Court of the Lopez matter and alluded to its implications at
 6    Footnote 1 of its Opposition to Plaintiffs’ Motion for Class Certification. [AMF 84,
 7    citing Dkt. 50.] However, now that Plaintiffs assert waiver of its arbitration rights,
 8    which this Court analyzes by looking at the totality of the parties’ actions, Hill v. Xerox
 9    Bus. Servs., LLC, 59 F.4th 457, 471 (9th Cir. 2023), it is important for the Court to
10    know the full context of Lopez, its current procedural posture, and the legal questions it
11    addresses. Judge Gee’s ruling in Lopez and what the Ninth Circuit ultimately does in
12    response – and the analysis and reasons it will give for its decision – have significant
13    ramifications on this matter and the scope of any permissible class. This context is
14    important to understanding Menzies’ actions from the outset of this Action.
15          C.     Plaintiffs’ Strategic Naming Of Ramp Agents As Parties To Avoid
16                 Arbitration Is Why Menzies Has Not Burdened The Court With A
17                 Motion To Compel Pending Lopez’s Outcome
18          Plaintiff Amaya, who worked in Menzies’ Passenger Service Agent job
19    classification, initiated the present class action on August 19, 2022, just over a month
20    after Menzies filed its Motion to Compel Arbitration in Lopez. [AMF 78.] While she
21    then amended her pleading with a First Amended Complaint (“FAC”) adding former
22    Ramp Agent Brayan Lozano Gonzalez as a plaintiff and proposed class representative
23    on August 30, 2002, counsel did not serve Menzies with the amended pleading until
24    September 21, 2022. [AMF 85.] That was the first notice Menzies had that a ramp
25    agent covered by Saxon had joined the case as a proposed class representative. [AMF
26    86.] Before receiving that notice, counsel for Menzies sent a letter on September 8,
27    2022 informing counsel for Plaintiffs that Amaya signed a valid and enforceable ADR
28    Policy agreement, which required her to submit all disputes to final and binding

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 1    arbitration and that she was prohibited from joining a class action or serving as a class
 2    representative. [SUF 1.] On September 29, 2022, counsel responded, invoking Saxon
 3    to support Amaya’s refusal to bring her individual claims in arbitration and denying that
 4    “Plaintiffs’ claims are “subject to a valid arbitration agreement.” [SUF 5.]
 5          The addition of a former ramp agent as a plaintiff and proposed class
 6    representative had obvious implications on the question of arbitration because, pursuant
 7    to Saxon, Gonzalez had standing to seek class action treatment regardless of how Lopez
 8    will ultimately illuminate Amaya’s qualification or non-qualification as a
 9    “transportation worker.” Counsel for the Parties discussed these issues and a potential
10    motion to compel arbitration directed to Amaya only during a telephonic meet and
11    confer conference on October 11, 2022, during which Menzies requested additional
12    time respond to the FAC to consider potential courses of action. [AMF 87] Menzies
13    concluded that even if it were successful compelling Amaya’s claims to arbitration,
14    doing so would have no practical effect on the initial aspects of this putative class
15    action. [AMF 88.] In other words, even if the Court compelled arbitration as to
16    Amaya over her Saxon-based opposition, it would have no practical impact on the class
17    claims because Gonzalez would retain standing to pursue them. Additionally, given
18    that it had fully briefed the arguments on Saxon’s scope beyond the ramp agent
19    classification in Lopez, rather than burden this Court with a parallel motion that might
20    lead to inconsistent district court decisions but would in no circumstances change the
21    early stages of this litigation, Menzies felt it would be the best use of all parties’
22    (including Plaintiffs’) and the courts’ resources to see how Judge Gee addressed the
23    issue and re-evaluate options depending on her ruling. [AMF 89.] Accordingly,
24    Menzies decided to move forward with the litigation based on Gonzalez’s presence in
25    the case required while expressly preserving its right to invoke the arbitration
26    agreement at an appropriate stage of this litigation. [AMF 90.]
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 1          D.     Menzies Has Continued To Invoke Arbitration In This Case’s Key
 2                 Pleadings And Reports Simultaneous With Its Arguments In Lopez
 3          On October 25, 2022, Menzies filed an Answer to the FAC, which included the
 4    Twenty-Fourth Affirmative Defense stating “Plaintiffs and the putative class they seek
 5    to represent are required to submit their claims to final and binding arbitration on an
 6    individual basis.” [AMF 90; see Answer.] On December 5, 2022, the Parties filed a
 7    Joint 26(f) Report for Scheduling Conference, wherein Menzies expressly references
 8    the “Alternative Dispute Resolution agreements” as something it considered to be key
 9    matter relating to the parties and the evidence. [SUF 12.] At the time the Parties
10    submitted that Report, Judge Gee had yet to deny Menzies’ Motion to Compel
11    Arbitration in Lopez. [AMF 80.]
12          In response to Plaintiffs’ written discovery requests, Menzies produced exemplar
13    ADR Policy agreements, including those signed by Plaintiffs Amaya and Gonzalez.
14    [AMF 91.] On April 26, 2023 – 16 days after filing its Opening Brief with the Ninth
15    Circuit in Lopez – Menzies deposed Amaya, during which counsel inquired at length
16    about Amaya’s understanding of the ADR Policy and authenticated her written
17    agreement for potential future use. [AMF 92.] On May 9, 2023, counsel for Plaintiffs
18    filed a Second Amended Complaint (“SAC”), which replaced Gonzalez with another
19    Ramp Agent, Anibal Silva. [Dkt. 40.] As it had in December 2022, Menzies evaluated
20    the practical and legal impact of moving to compel arbitration, but concluded once
21    more that because Silva was also a Ramp Agent, it would have been impractical and
22    inefficient to move to compel because Silva was clearly exempt from the FAA,
23    particularly with the scope of how Saxon would apply to the Menzies business now
24    squarely before the Ninth Circuit pending an opinion that will bind this Court on the
25    implications of the ADR Policy. [AMF 93.] On May 19, 2023, Menzies deposed Silva,
26    again inquiring at length about Silva’s understanding of the ADR Policy and
27    authenticating his written agreement. [AMF 94.]
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 1           E.     Menzies Argued Its Arbitration Rights And Their Impact On Class
 2                  Member Standing As A Key Barrier To Class Certification
 3           On May 22, 2024, Plaintiffs moved for class certification, relying on the two
 4    class definitions stated in the SAC – both of which include all employees in non-exempt
 5    classifications in California without regard to their job duties. [See Docket No. 40, ¶
 6    30, No. 41, and No. 41-1.] In other words, Plaintiffs proposed to this Court that it
 7    certify a class without any consideration for the ADR Policy’s implications. Indeed,
 8    Plaintiffs would later argue on reply that the issue of how arbitration affected class
 9    members’ rights was itself a common question that supported certification, thus
10    themselves relying on Menzies’ assertion of its arbitration rights as a reason why the
11    Court should certify the proposed definitions for class treatment. [AMF 95; Dkt. 53,
12    II(A), p. 1:16-2:16.]
13           On June 12, 2023 – less than eight months after raising its arbitration affirmative
14    defense – Menzies filed its Opposition to Plaintiffs’ Motion for Class Certification (the
15    “Opposition”). [Dkt. 50.] Menzies repeatedly invoked the fact that “virtually all of
16    Menzies’ California non-exempt employees are subject to the ADR Policy, including
17    both Plaintiffs and every one of the declarants relied upon by Plaintiffs in support of
18    their Motion.” [Dkt. 50, p. 13, ln. 20-22.] As noted supra, it also alerted the Court to
19    Lopez and reiterated that while Ramp Agents themselves may not be subject to
20    enforceable ADR Policy agreements, dozens of other classifications are completely
21    outside the scope of Saxon and subject to individual defenses that completely bar to
22    their participation in this class action. [Dkt. 50, p. 3, fn. 1.]
23           F.     Menzies Brought Its Partial MSJ In Parallel To Class Certification
24                  Proceedings Addressing Arbitration For Purposes Of Efficiency
25           After transfer of this case from Judge Scarsi’s docket, this Court held a status
26    conference on August 24, 2023 resetting the hearing date on Plaintiffs’ now fully-
27    briefed certification motion. [Dkt. 64.] During that conference, counsel for Menzies
28    specifically asked the Court for leave to have its anticipated partial summary judgment

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 1    motion on the same date as Plaintiffs’ certification motion, explaining that the issues
 2    presented in that motion would bear on Plaintiffs’ individual ability to serve class
 3    representatives and it thus would be an efficient use of the Court’s time to address those
 4    issues in connection with the already-briefed arguments opposing certification –
 5    including specifically the arbitration issue. [AMF 96; Dkt. 64.] This Court then set the
 6    hearing on the pending class certification motion for October 25, 2023 to allow for
 7    simultaneous hearing on both motions, and Menzies’ Motion for Partial Summary
 8    Judgment thus sought relief as to Plaintiffs only for purpose of addressing their ability
 9    to act as class representatives. [AMF 97; Dkt. 64.] Menzies then repeated its
10    arguments about the key importance of the arbitration question on the propriety of class
11    certification during oral argument on October 25, 2022, emphasizing the fact that the
12    majority of the putative class was bound by the ADR Policy even post-Saxon. [AMF
13    98]
14          On February 8, 2024, the Court granted Plaintiffs’ Motion for Class Certification,
15    which included as class members all of Menzies’ non-exempt California employees
16    who signed valid and enforceable arbitration agreements containing class action
17    waivers. [AMF 99.] The Court specifically identified the arbitration issue as a
18    common question supporting the propriety of class treatment which Plaintiffs had
19    argued in their reply brief. [Dkt. 69, p. 9.]
20          G.     Only After Menzies Identified Marriott And Sought Relief From
21                 Certification Of A Class Consisting Of Thousands Without Standing
22                 To Participate Did Plaintiffs Claim Waiver
23          Believing the inclusion in the class of individuals who have waived or arguably
24    waived standing to participate is contrary to Ninth Circuit authority, Menzies sought
25    immediate relief limited to the sole and discrete issue of the Court’s treatment of the
26    arbitration issue as a common question supporting class certification and whether a
27    class containing individuals bound or arguably bound by arbitration agreements can
28    stand. [AMF 99-100.] On February 22, 2024, Menzies concurrently filed (1) a Petition

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 1    for Permission to Appeal Under Rule 23(f) with the Ninth Circuit; and (2) a Motion for
 2    Reconsideration with this Court, both of which specifically addressed the impact of
 3    arbitration on the propriety of class certification and whether any class could be
 4    certified before arbitration questions were fully resolved. [AMF 99-100.] Both the
 5    Petition and Motion identified Marriott and relied on its holding that “the time to
 6    address a contractual waiver is before, not after, a class is certified” because “this is the
 7    only approach consistent with the nature of class actions and the logic of class waivers.”
 8    78 F.4th at 686-87. [AMF 99-100.] Having earlier relied on Menzies’ arbitration
 9    arguments as a reason to certify the class, it was only after Menzies petitioned the Ninth
10    Circuit and moved for reconsideration that Plaintiffs began arguing waiver as a reason
11    not to apply Marriott. [Dkt. 72, p.8.]
12    III.   THE PARITES’ ACTIONS DEMONSTRATE MENZIES’ INTENTIONAL
13           PRESERVATION OF ITS ARBITRATION RIGHTS AND CARE FOR
14           JUDICIAL EFFICIENCY WHILE LOPEZ REMAINS PENDING
15           This Court assesses Plaintiff’s waiver of arbitration rights argument under a fact-
16    intensive analysis of two elements: (1) whether Menzies had knowledge of an existing
17    right to compel arbitration; and (2) whether Menzies engaged in intentional acts
18    inconsistent with that existing right. Xerox, 59 F.4th at 468. Given that there is no
19    dispute as to Menzies’ knowledge of its arbitration rights, Plaintiffs’ motion focuses on
20    the second element, which calls on the Court to consider “the totality of the parties’
21    actions” because “[t]here is no concrete test to determine whether a party has engaged
22    in acts inconsistent with its right to arbitrate. Id. at 471 (emphasis supplied, internal
23    citations omitted). The totality of all parties’ actions in this case, measured particularly
24    against Xerox and this Court’s recent decision in Salas, make plain Menzies has not
25    waived its arbitration rights.
26           A.    Plaintiffs’ Strategy And Actions Have Significantly Dictated How
27                 Arbitration Has Affected This Case
28           Xerox’s reminder to consider the totality of the plural parties’ actions is an

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 1    important reminder that while prejudice is no longer part of the analysis following
 2    Morgan v. Sundance, Inc., 596 U.S. 411 (2022), the totality of the “parties’ actions”
 3    necessarily makes Plaintiffs’ actions relevant to the analysis. Plaintiffs’ strategic
 4    naming and maintaining of ramp agents – including substituting Silva when Gonzalez
 5    apparently no longer wished to participate – is a substantial factor explaining Menzies’
 6    preservation of arbitration rights while waiting to move to compel. While Plaintiffs
 7    seemingly suggest Menzies should have filed a motion to compel arbitration against
 8    Amaya alone, they ignore that doing so would have no practical impact on this case
 9    overall. Their intentional decision to include ramp agents as party plaintiffs has
10    required Menzies to participate in discovery and other aspects of this litigation – during
11    which Menzies has always maintained arbitration as part of its defense strategy.
12    Plaintiffs also chose to define and seek certification of a class without any consideration
13    for the fact that the majority of that class lacked standing to participate. See Marriott,
14    78 F.4th at 686 (noting a class-waiver defense is not a defense to liability, but whether
15    class action litigation is even an available process); see also Berman v. Freedom Fin.
16    Network, LLC, 400 F. Supp. 3d 964, 986 (N.D. Cal. 2019) (citing O’Connor v. Uber
17    Techs., Inc., 904 F.3d 1087 (9th Cir. 2018) for the premise that a class encompassing
18    members with valid arbitration agreements and others not subject to them cannot be
19    certified). It was Plaintiffs’ duty and decision to define for the Court the scope of a
20    proper class – not Menzies obligation to clean up their class definition and define its
21    proper parameters for them. See Fed. R. Civ. P. 23 (plaintiffs have the burden to define
22    the class and the class claims); Gau v. Hillstone Rest. Group, Inc., No. 20-CV-08250-
23    SVK, 2021 WL 754536, at * 7 (N.D. Cal. Feb. 26, 2021) (“Having intentionally defined
24    [their] classes broadly, [Plaintiffs] cannot now escape the consequences of that choice
25    … even if [Defendant] may have a strong defense based on the [arbitration
26    agreement]”) (internal citations omitted). They then relied on Menzies’ arguments for
27    why arbitration precluded certification of the class they proposed as a reason why they
28    satisfied the commonality and typicality aspects of the certification inquiry. It is

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 1    disingenuous at best for Plaintiffs to have argued the specter of arbitration helps their
 2    legal arguments in this case, only to then claim after Marriott that Menzies cannot
 3    preserve and avail itself of its rights when that same specter poses substantial problems.
 4    78 F.4th at 686 (arbitration questions must be resolved before a class is certified).
 5          How Menzies has directed its litigation strategy in response to Plaintiffs’
 6    litigation strategy – which only now includes a waiver argument after they have learned
 7    of Marriott – thus directly bears on whether Menzies supposedly has acted
 8    inconsistently with its arbitration rights. Plaintiffs’ actions have made impractical a
 9    motion to compel arbitration to this point – particularly when bringing one would force
10    this Court to render a decision applying Saxon while Menzies has already been
11    litigating that identical issue before another court of this District and now the Ninth
12    Circuit. Indeed, had Menzies refused to participate in discovery in response to
13    Plaintiffs’ demands, Plaintiffs’ own factual submissions strongly suggest Menzies
14    would have been facing discovery motions and other allegations of litigation
15    misconduct. The totality of the plural parties’ actions necessarily includes Plaintiffs’
16    strategic decisions, which have greatly impacted how the arbitration question has so far
17    played out in this litigation.
18          B.     The Significant Differences Between Xerox And Salas And The Facts
19                 Here Make Plain No Waiver Has Occurred
20          Menzies is mindful both of this Court’s admonition during the April 11, 2024
21    hearing that it is very familiar with the Xerox decision and the fact that it analyzed and
22    applied it in Salas earlier this year. However, given the massive contrast between the
23    facts of those two decisions versus what has transpired in this case, Menzies believes
24    briefly distinguishing both cases will be useful.
25          Xerox dealt with two different arbitration agreements, one adopted in 2002
26    (“2002 DRP”) and a later version adopted in 2012 (“2012 DRP”) containing an express
27    class action waiver. 59 F.4th at 460-61. Relative to the 2012 DRP, XBS litigated the
28    issue very similarly to how Menzies has litigated this case, expressly asserting a right to

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 1    arbitration in its answer to the operative pleading, in discovery, in a motion for
 2    summary judgment, and in opposition to class certification (but not, notably, in a
 3    motion to compel arbitration). See id. at 461-65. There was never a debate about
 4    waiver vis-à-vis the 2012 DRP, even though XBS had only invoked the 2012 DRP in
 5    communications with counsel, joint reports, and in opposition to class certification, and
 6    had never filed a motion to compel. Id. at 468. Waiver had only occurred relative to
 7    the 2002 DRP, where over a period of time three times as long as this case has been
 8    pending, XBS never asserted a right to arbitration relative to that agreement, did not
 9    raise it as a barrier to class certification nor as part of its request for reconsideration of
10    class certification, and throughout years of interlocutory appellate litigation. See id. at
11    461-65. Only after six years of such strategy did XBS suddenly invoke a right to
12    compel arbitration under the 2002 DRP and argued the district court should exclude
13    signatories of both the 2002 and 2012 DRPs from the final class definition, only to then
14    continue treating the 2002 DRP signatories as part of the class list. See id. at 466-67.
15    The Ninth Circuit actually juxtaposed how XBS approached the 2012 DRP (using
16    largely the same path Menzies pursued in this case) as a demonstration of how it waived
17    the right to enforce the 2002 DRP. Id. at 473-76.
18           Menzies’ actions asserting its arbitration rights parallel how XBS acted relative
19    to the 2012 DRP but come nowhere close to the facts resulting of waiver relative to the
20    2002 DRP. Nor do they come anywhere close to the key facts in Salas, where after two
21    motions to dismiss, failure to identify arbitration as an affirmative defense for over two
22    years, failure to raise arbitration as a barrier to class certification, and admonishment
23    that any issues not raised in motions filed after nearly eight years of litigation would be
24    waived, this Court found waiver. Salas, 2024 WL 606166 at *1-4. Slaten v. Experian
25    Info. Sol., Inc., No. CV 21-09045-MWF (Ex), 2023 WL 6890757 (C.D. Cal. Sept. 6,
26    2023), where the defendant never identified arbitration as an affirmative defense, waited
27    18 months before moving to compel arbitration, and engaged in other acts generally
28    inconsistent with the right to arbitrate, is equally inapposite. 2023 WL 6890757 at *4-6.

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 1    Menzies has consistently and repeatedly invoked arbitration as a key issue in this case,
 2    brought it to counsel’s and the Court’s attention, and asserted its rights in response to
 3    Plaintiffs’ strategic decisions to render a motion to compel arbitration a practically
 4    pointless exercise, their decision to include individuals subject to arbitration in the class
 5    definition, and their reliance on it as a basis for class certification. Its actions have thus
 6    not only been markedly different than those considered in Xerox, Salas and Slaten, they
 7    also sit within the significant context of the Lopez litigation (itself a significant factual
 8    distinction across all three case) and the potentially dramatic impacts its outcome will
 9    have on this case. While Lopez remains outstanding, asking this Court to assess how to
10    apply the transportation worker exemption over Amaya’s claim the she falls within it
11    despite her having significantly different job duties than ramp agents have would be
12    inefficient to the judiciary as a whole and put this Court in the unenviable position or
13    perhaps issuing a ruling at odds with Judge Gee or that would immediately demand
14    further motion practice or appeals once the Ninth Circuit has decided the case.
15          Plaintiffs’ argument that Menzies should have wasted this Court’s time and
16    disregarded the impact on its limited resources, lest it be subject to the instant
17    arguments about “waiver,” is thus myopic impractical and at odds with the authorities
18    on which they rely. The Court should not entertain such an unreasonable outcome.
19          C.     Addressing The Import Of Arbitration And Class Waivers At
20                 Certification Is Fully Consistent Retention Of Arbitration Rights
21          Plaintiffs’ contention that Menzies somehow either had to move to compel
22    arbitration prior to class certification or waive its rights under the ADR Policy similarly
23    has no support in the legal authorities. For starters, that is exactly what XBS did in
24    Xerox relative to the 2012 DRP, which the both the district court and the Ninth Circuit
25    recognized as a proper course of action. Id. at 473-76. And as Menzies has previously
26
      pointed out, courts have frequently reinforced the notion that raising arbitration as a
27
      barrier to class certification is appropriate. See, e.g., Lawson v. Grubhub, Inc., 13 F.4th
28
      908, 913 (9th Cir. 2021) (affirming the class was not “worthy of certification” where all

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 1    class members except one representative signed waivers); Marriott, 78 F.4th 677-87
 2    (“the time to address a contractual class waiver is before, not after a class is certified …
 3    usually as the first order of business”) 11; Lindsay v. Carnival Corp., No. C 20-982, 2021
 4    WL 2682566, at *4 (W.D. Wash. June 30, 2021) (denying class certification as barred
 5    by class waiver); Archer v. Carnival Corp. & PLC, No. 20-cv-04203, 2020 WL
 6
      6260003, at *8 (C.D. Cal. Oct. 20, 2020) (certification barred by class waiver rendering
 7
      moot other certification questions under Rule 23(a) and 23(b)(3)); Avecilla v. Live
 8
      Nation Entm’t, Inc., No. CV 23-1943 PA, 2023 WL 5354401 (C.D. Cal. 2023) (finding
 9
      class-action waiver valid and dismissing class action claims without addressing the Rule
10
      23 requirements);. Plaintiffs’ Motion provides no authority to support the implied
11
      argument that Menzies was required to bring a pointless motion to compel arbitration
12
      rather than addressing the issue during class certification – a fact that Plaintiffs concede
13
14    Menzies repeatedly emphasized in communications and filings from the outset of this

15    litigation. [See Motion, p. 20, lines 17-18 (“Menzies raised the arbitration issue in its

16    answers, Joint Reports, and other filings.”)]
17             D.        Plaintiffs’ Characterization Of Menzies’ Actions As “Inconsistent”
18                       With Its Arbitration Rights Dodges The Full Context Of This Matter
19             Plaintiffs’ various arguments for cherry-picking examples of how Menzies’
20    “participation” in the instant litigation constitutes actions “inconsistent” with its right to
21    arbitrate ignore the unique factual and procedural considerations at play in this case.
22    Critically, despite knowing of the Lopez matter, Plaintiffs avoid it completely, dodging
23    any considerations as to how that ongoing litigation critically affects this matter. They
24
25
      11 The facts of Marriott are themselves distinguishable.   The defendant unsuccessfully moved to dismiss and the certified class
26
      consisted entirely of individuals subject to binding arbitration, and the Plaintiffs had not themselves engaged in strategic
27
      litigation decisions intended to make a motion to compel arbitration a practically pointless exercise. 78 F.4th at 683-87. And of
28
      course, Marriott has no similar contextual backdrop to the significant one created by the Lopez litigation.

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 1    also do not confront how Saxon would have made a motion to compel arbitration as to
 2    Amaya a pointless exercise that would not have freed Menzies from engaging in the
 3    same discovery practices they point to as supposedly supporting waiver. Casting
 4    Menzies’ cooperation in this litigation, which Plaintiffs’ strategic inclusion of ramp
 5    agents as plaintiffs has necessitated is equally stripped of context and disingenuous.
 6    Indeed, Plaintiffs concede that “Menzies raised the arbitration issue in its answers, Joint
 7    Reports, and other filings,” but then cherry picks portions of them to argue that Menzies
 8    made representations to the Court suggesting that it would not seek to compel
 9    arbitration.” [See Motion at p. 20, lines 17-18.] The arc of this case – again,
10    particularly against the backdrop of Lopez – instead makes plain Menzies has always
11    asserted arbitration as an important part of its defense – not waived its arbitration rights.
12          Similarly, Plaintiffs reliance on Menzies’ Motion for Partial Summary Judgment
13    (on a single cause of action out of seven) ignores the context in which Menzies asked
14    specific permission to bring it – jointly for hearing at the same time as class certification
15    where Menzies centrally argued arbitration as a certification barrier and because of the
16    potential impact summary judgment might have on class certification questions. [AMF
17    98.] As Menzies emphasized to the Court, the unique CBA preemption defenses
18    applicable to Plaintiffs’ reimbursement claim constitute a basis to deny class
19    certification and deny relief on the merits as to Plaintiffs only – meaning there was a
20    significant efficiency for the Court to consider the issues simultaneously. Had Menzies
21    prevailed, it would only have affected Plaintiffs’ ability to represent the class – not the
22    substantive claims of absent class members, who would have retained the right to
23    pursue such claims. See Schwarzchild v. Tse, 69 F.3d 293, 295 (9th Cir. 1995) (pre-
24    certification merits ruling not binding on non-parties); Diva Limousine, Ltd. v. Uber
25    Tech., Inc., 392 F. Supp. 3d 1074, 1096 (N.D. Cal 2019) (inappropriate to rule on
26    summary judgment directed at class-based claims pre-certification when the ruling will
27    not bind putative class members). Moreover, in Xerox, the defendant also filed a
28    similar motion for partial summary judgment (and then sought appeal which caused

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 1    several years of delay), which did not have any bearing on the analysis regarding the
 2    2012 DRP and the defendants non-waiver of it. 59 F.4th at 462.
 3           Plaintiffs’ argument that Menzies “unabashedly sought to further avail itself of
 4    the Court’s resources by electing to request the assistance of a Magistrate Judge on
 5    settlement of the claims against it in this litigation while maintaining its arbitration
 6    defense” is specious at best. Plaintiffs’ strategic inclusion of ramp agents as party
 7    plaintiffs required that Menzies make a selection in this Court’s mandatory ADR
 8    procedure, and Menzies thus chose the least involved mandatory ADR procedure
 9    available – a settlement conference (which has yet to occur). Once again, when
10    considered in the full context of the instant litigation and against the strategic decisions
11    Plaintiffs have made leaving no avenue (short of outright litigation misconduct) for
12    Menzies to avoid participating in this case, Plaintiffs cannot demonstrate that Menzies
13    “engaged in acts inconsistent with its right to arbitrate” when considering the “totality
14    of the parties’ actions.” See Xerox, 59 F. 4th at 471 (emphasis supplied).
15    IV.    CONCLUSION.
16           For all the foregoing reasons, the Court should deny Plaintiffs’ Motion in its
17    entirety.
18    DATED: April 25, 2024                    FOLEY & LARDNER LLP
19
20                                             By:     /s/ Christopher Ward
                                                     CHRISTOPHER WARD
21                                                   KEVIN JACKON
22                                                   Attorneys for Defendant
                                                     Menzies Aviation (USA), Inc.
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 1                                 PLAINTIFFS’ REPLY BRIEF
 2    I.    INTRODUCTION.
 3          By the time this Motion for Partial Summary Judgment (“Motion”) is heard,
 4    Defendant Menzies Aviation (USA), Inc. (“Menzies”) will have been actively litigating
 5    this case before the Court for about twenty-one months. But until now Menzies has
 6    failed to move to compel arbitration. Supreme Court authority must govern the waiver
 7    inquiry: “…to decide whether a waiver has occurred, the court focuses on the actions of
 8    the person who held the right.” Morgan v. Sundance Inc., 596 U.S. 411, 417 (2022).
 9          Menzies’ Opposition disingenuously attempts to shift blame for its own actions
10    by faulting Plaintiffs for naming Patricia Amaya (“Amaya”) and Annibal Silva
11    (“Silva”) as class representatives, and by arguing futility. Other than its self-contrived
12    excuse, however, there never was and there now remains nothing to prevent Menzies
13    from moving to compel arbitration. The reality is Menzies chose to litigate, not to
14    arbitrate. Hence, Menzies alone is responsible for its own choice of a preferred strategy
15    to adjudicate its defenses in court and not in arbitration.
16          Strangely, Menzies seeks refuge in the pending appeal in Lopez v. Aircraft Serv.
17    Int’l, Inc., 9th Cir. Case No. 23-55015 – an entirely separate, unrelated, and non-class
18    action case. The issue in Lopez is whether the plaintiff fueler – who seeks Private
19    Attorney General Act (“PAGA”) penalties against Menzies – was exempt from
20    arbitration under Southwest Airlines Co. v. Saxon, 596 U.S. 450 (2022). Menzies does
21    not pretend that Lopez has anything to do with waiver. It clearly does not since Lopez is
22    an appeal from an order denying a motion to compel arbitration, holding that Lopez’
23    work duties make him a transportation worker under Saxon. The issue presented by the
24    Motion is completely different: whether Menzies’ active litigation conduct inconsistent
25    with its right to arbitrate has resulted in waiver.
26          Far from effectively enforcing its contractual right to arbitrate, Menzies took
27    advantage of litigating before this Court. Menzies embarked on an over-inclusive class
28    wide discovery, submitted its litigation plan to the Court within the framework of this

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 1    class action, sought merits determination of arbitrable claims and pursued judicial in
 2    lieu of arbitral relief that – if granted by the Court– would have eviscerated wage
 3    reimbursement claims of the entire class in this case.
 4           When the Morgan court placed arbitration agreements on the same footing as
 5    other contracts, it provided clear guidance on waiver analysis. Morgan directs courts “to
 6    apply the usual federal procedural rules, including any rules relating to a motion’s
 7    timeliness.” Id. at 419. Applying these usual rules including timeliness, it is clear that
 8    Menzies, because of its numerous actions inconsistent with its right to arbitrate coupled
 9    with its failure to move to arbitrate, waived its right to do so.
10    II.   ARGUMENT.
11          A.     Menzies Concedes the First Element of Waiver.
12          “[T]here is no dispute as to Menzies’ knowledge of its arbitration rights.” Opp. at
13    p. 22. At issue now is whether Menzies acted inconsistent with a right to arbitrate.
14          B.     Menzies Repeatedly Chose Not to Move for Arbitration.
15           Menzies chose not to arbitrate at the outset of the case and reaffirmed that choice
16    in the course of litigation. Menzies admits “ramp agents” are transportation workers
17    exempt from arbitration under Section 1 of the Federal Arbitration Act (“FAA”), under
18    Saxon, and Menzies cannot compel class members who are ramp agents to arbitrate.
19    Thus, as Menzies admits, this action will proceed as to members exempt under Saxon
20    even if the Court were to compel other class members to arbitrate. “Accordingly,
21    Menzies decided to move forward with this litigation” without filing a motion to
22    compel arbitration in the fall of 2022. Opp. at 36:24 (emphasis added). And when
23    Plaintiffs filed a Second Amended Complaint in May 2023 that replaced original named
24    plaintiff Gonzalez with another ramp agent (Anibal Silva), Menzies “concluded once
25    more” that it would not move to compel. Opp., at 37:20-21. A delay of little as five
26    months has supported a waiver, as explained in Plaintiff’s Opening Brief. Supra, at 6.
27    The Opposition does not disagree, and thus concedes the point.
28          Contrary to Menzies’ arguments, “[a] statement by a party that it has a right to

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 1    arbitration in pleadings or motions is not enough to defeat a claim of waiver.” Salas v.
 2    Toyota Motors Sales, U.S.A., Inc., 2024 WL 606166 *9 (C.D. Cal. Jan. 10, 2024),
 3    quoting Martin v. Yasuda, 829 F.3d 1118, 1125 (9th Cir. 2016). “A party cannot keep
 4    its right to demand arbitration in reserve indefinitely while it pursues a decision on the
 5    merits before the district court.” In re Mirant Corp., 613 F.3d 584, 591 (5th Cir. 2010.
 6    And “[a] reservation of rights is not an assertion of rights.” Hooper v. Advance
 7    America, Cash Advance Ctrs. of Missouri, Inc., 589 F.3d 917, 923 (8th Cir. 2009). As
 8    in Salas, Menzies’ Opposition confirms that it had a “preferred strategy” of
 9    “exhaustively litigating the merits of all class members’ claims – all the way to trial, if
10    need be – before moving to compel absent class members to arbitration.” 2024 WL
11    606166 *9. Adopting and consistently following that strategy has resulted in waiver.
12          C.     Menzies’ Misguided Focus on Plaintiffs’ Actions Contravenes the
13                 Morgan’s Instructions for Analyzing Waivers.
14                 1.     Waiver is unilateral and focuses on Menzies’ actions.
15          Disingenuously playing victim, Menzies argues Plaintiffs are somehow to blame
16    for Menzies’s own decision not to file a motion to compel arbitration. The argument
17    fails principally because it contravenes the Supreme Court’s guidance on waiver inquiry
18    to look at the conduct of the holder of the right. Morgan supra, at 417. It also
19    misrepresents Hill v. Xerox Business Services, LLC, 59 F.4th 457 (9th Cir. 2023) by
20    citing an isolated sentence which departs from the ruling of the case affirming waiver of
21    the employer’s right to arbitrate. Opp. at 40. However, Hill clearly teaches otherwise.
22          First, there are only two elements of waiver: “(1) knowledge of an existing right
23    to compel arbitration; and (2) intentional acts inconsistent with that right.” Hill, 59
24    F.4th at 468. Neither of those elements involves any inquiry about the action of the
25    party asserting a waiver. Second, Hill explained that “waiver is a unilateral concept”:
26          “A finding of waiver by [defendant] XBS looks only to the acts of XBS, binds
27          only XBS, does not reach out to affect the right of as then-unnamed class
28          members, and does not depend upon when the law requires or authorizes such a

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 1          right to be asserted. As noted by the Supreme Court in Morgan ‘[t]o decide
 2          whether a waiver has occurred, the court focuses on the actions of the person who
 3          held the right; the court seldom considers the effects of those actions on the
 4          opposing party.’”
 5    Hill, 59 F.4th at 469, quoting Morgan, 142 S.Ct. at 1713, and citing Royal Air Props.,
 6    Inc. v. Smith, 333 F.2d 568, 571 (9th Cir. 1964) (“waiver is unilaterally accomplished”).
 7    Menzies is wrong when it suggests the Court needs to consider Plaintiffs’ actions to
 8    decide whether Menzies acted in ways inconsistent with its own right to arbitrate.
 9                 2.     Plaintiffs had no obligation to limit the proposed class as Menzies
10                        asserts – its right to arbitrate was waivable and has been waived.
11          Menzies insists Plaintiffs had “duty” to seek certification of a class comprised
12    only of Menzies employees exempt from arbitration under Saxon. The argument makes
13    no sense. First, the employer’s right to arbitrate is subject to the usual contractual
14    defenses, such as waiver. The FAA permits arbitration agreements to be declared
15    unenforceable upon such grounds as exist at law or in equity for the revocation of any
16    contract. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, at 339, 131 S. Ct. 1740, at
17    1745 (2011). Plaintiffs were not obliged to assume that Menzies would not waive its
18    right to arbitrate (Menzies in fact waived that right), or that there would be no other
19    grounds in law or equity to render the ADR Policy unenforceable. Second, the cases
20    Menzies cites on page 41 of its Opposition do not support the conclusion that Plaintiffs
21    are to somehow to blame for Menzies’ own choice to participate actively in this
22    litigation. Nor do those cases recognize a duty on Plaintiffs’ part to define the proposed
23    class to exclude members that Menzies contends are bound by an arbitration agreement.
24          D.     Menzies’ Actions Outside this Case do not Avoid Waiver Here.
25          Menzies cites no authority for the proposition that its secret litigation strategy
26    vis-à-vis Lopez, and its efforts to compel arbitration in other cases, has any bearing on
27    the question of waiver in this case. The question is not whether Menzies generally
28    waived its arbitration rights, but whether it waived its right to compel arbitration of

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 1    claims in this case, by choices Menzies made in this case and its actions in this case.
 2    After all, a party to an arbitration agreement is free to waive its right to arbitrate in one
 3    case, while acting to enforce that right in other cases. See, e.g., Meyer v. Kalanick, 185
 4    F.Supp.3d 448, 453, n. 3 (S.D.N.Y. 2016)(defendant waived right to arbitrate in Meyer
 5    but reserved his right to move to compel in other cases arising out of the agreement at
 6    issue). Evidence that Menzies took steps outside this case to enforce its arbitration
 7    rights under its ADR Policy are relevant only to prove this: Menzies knows what to do
 8    when it actually wants to arbitrate. It plainly chose to do the opposite here. Even now,
 9    Menzies stops short of avowing that it ever will, in fact, file a motion to compel
10    arbitration. Menzies argues that much depends upon the outcome of Lopez. But
11    Menzies’ position makes no sense: regardless of Lopez’s outcome there were already
12    thousands of class members who Menzies now contends are obligated to arbitrate.
13    Nothing ever prevented Menzies from filing a motion to compel Plaintiff Amaya to
14    arbitrate, except of course, Menzies’ own choice to litigate before this Court.
15          E.     Menzies Misstates the Import of Hill in This Case.
16          Menzies argues its actions in this case are like the defendant’s actions in Hill with
17    respect to the later of two arbitration agreements at issue in that case – the 2012 DRP,
18    which contained a class action waiver. Menzies’ strained arguments overlook key facts.
19          First, Hill reviewed an order denying a motion to compel arbitration of claims
20    related to the earlier of two arbitration agreements – the 2002 DRP. 59 F.4th at 468.
21    Menzies, by contrast, has never filed any motion to compel arbitration, or confirmed
22    (even now) that it ever will. Second, Hill had no occasion to consider whether the
23    defendant in Hill waived any rights with respect to arbitration provision in the later
24    2012 DRP, because the plaintiff in Hill conceded that agents who signed the 2012 DRP
25    “will be prevented from participating in this class action” (Hill, 59 F.4th at 463), the
26    certification order did not include them, and the defendant’s motion to compel did not
27    relate to them. Thus, contrary to Menzies’ argument, Hill had no occasion to consider,
28    much less hold, that there was no waiver with respect to agents who signed the 2012

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 1    DRP. Third, the defendant in Hill advised the court that if “individuals subject to
 2    arbitration agreements [we]re included in the class,” the defendant “anticipated bringing
 3    motions to compel individual arbitration once the class is finalized.” 59 F.4th at 466.
 4    Menzies never provided notice it intends to file a motion to compel arbitration. To the
 5    contrary, Menzies’ portion of joint reports repeatedly informed this Court that it had no
 6    intention of filing any procedural motion. Undeniably, a motion to compel arbitration is
 7    a procedural motion which Menzies itself represented it did not intend to file.
 8           F.      The Pending Appeal in Lopez Does Not Excuse Menzies’ Failure to
 9                   Timely Move for Arbitration.
10           The Opposition miserably fails to show that the pending appeal in Lopez is any
11    reason to deny Plaintiffs’ motion. First, Lopez is irrelevant. It involves the issue of
12    whether Lopez, a fueler, 12 is a transportation worker exempt from arbitration under
13    Saxon. There is no waiver at issue in Lopez because Menzies filed a motion to compel
14    arbitration promptly in that case – which of course shows Menzies knows how to
15    protect its right to arbitrate when it wants to. And Lopez was never a class action; it
16    instead asserts a single cause of action under PAGA seeking penalties on behalf of the
17    government and not on behalf of thousands of other Menzies non-exempt employees.
18    The outcome of the Lopez appeal therefore has no bearing on the present motion.
19           Second, there is no merit in Menzies’ contrived argument that it can unilaterally
20    hold a motion to compel arbitration in this case in abeyance because the Ninth Circuit
21    might reverse Judge Gee’s finding, under Saxon, that aircraft fuelers are exempt
22    “transportation workers” under Section 1 of the FAA. According to Menzies, if the
23    Ninth Circuit reverses in Lopez, that might affect a determination of whether fuelers in
24    this case can be compelled to arbitrate, and Menzies might decide to file a motion to
25    compel arbitration at some point in the future. It also might not. It makes no promises.
26
      12
27      Aside from differences in issues in Lopez and the present case, the plaintiff’s work in Lopez as a
      fueler is different from Amaya’s duties as a passenger service agent. Amaya physically receives
28    baggage from airline passengers for transport to other states and countries. Even if Lopez reverses
      Judge Gee’s ruling that a fueler is covered by Saxon, it will not apply to Amaya.

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 1          Menzies’ specious argument fails because nothing really prevented Menzies from
 2    timely filing a motion to compel arbitration. If it really believed then that the outcome
 3    in Lopez would make a difference, Menzies would have moved this Court for an order
 4    staying this case, instead of keeping its motion to compel arbitration in its back pocket
 5    until the Lopez appeal is resolved. Casually “alluding” to Lopez in a footnote of its brief
 6    in opposition to class certification without more does not preserve its right.
 7          Menzies argues, in the name of supposed “efficiency,” that it has not filed a
 8    motion to compel arbitration because it would unduly “burden this Court” with a
 9    motion that might lead to a different result than in Lopez. But there is nothing
10    “efficient” about laying in the weeds with an undisclosed strategy of waiting for results
11    in other litigation before moving to compel arbitration in this case. As Hill explained,
12    when a litigant acts inconsistent with its right to compel arbitration, that litigant has “a
13    choice to set the record straight by dispelling the notion that it was waiving its rights.”
14    59 F.4th at 481. A party like Menzies is “at risk” of waiver if it fails to “provide notice
15    of its intention to seek arbitration” when such notice is “needed to correct the
16    impression of waiver [the party] itself create[s]” when it acts inconsistently with
17    “arbitration rights by its litigation practices in the courts.” Id. Menzies even now has not
18    committed itself to filing a motion to compel arbitration at any point in this case. It
19    instead purports to “preserve” its right to arbitration if and when Menzies unilaterally
20    decides there is “an appropriate stage of this litigation.” Opp. at 36. This open-ended
21    gamesmanship constitutes a knowing waiver.
22          G.     Menzies’ Claim of Futility is Unavailing.
23          Menzies argues it would be futile to move to compel Amaya to arbitrate because
24    Silva would still have standing to bring the class action. Menzies is wrong. A similar
25    argument was raised by the defendant employer in Hill – who argued it could not move
26    to compel until it knew who all the class members were – and was rejected. Id. at 480.
27    According to the Ninth Circuit, the defendant failed to appreciate that waiver is a
28    “unilateral concept.” Id. at 469. A finding of waiver “does not depend upon when the

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 1    law requires or authorizes such a right to be asserted.” Id. For waiver purposes, it is not
 2    required that the holder of the right has a present ability to enforce the arbitration
 3    agreement. Id. ( “… we simply recognize that under the circumstances of this case, it
 4    was permissible to find that XBS engaged in actions during the course of the litigation
 5    that were inconsistent with the right to compel arbitration under the 2002 DRP”). 13
 6           H.      Menzies failed to preserve its right to arbitrate.
 7           Menzies’ claim of futility is inherently implausible. Had Menzies moved
 8    promptly against Amaya, it would have preserved its right against Amaya and other
 9    Class Members who “do not unambiguously fall under Saxon” – Class Members
10    whom, according to this Court, “Amaya is well positioned to represent.” Dkt. 69, at
11    9:16-17. By failing to do so Menzies failed to preserve its right to arbitrate.
12           Neither was Menzies able to preserve its right by mentioning individual
13    arbitrations in its Opposition to Plaintiffs’ Motion for Class Certification. There, it
14    referenced arbitration simply within the context of typicality and adequacy elements of
15    FRCP Rule 23, as Menzies sought to deny class certification in its entirety. In fact, this
16    Court addressed this exact argument in its Order granting certification, seeing them as
17    “Defendants’ challenges [to] the typicality and adequacy of Plaintiff Amaya.” Dkt 69,
18    at 8-9. But nowhere in said Opposition nor in any of its submissions to this Court that
19    Menzies provides notice of its intention to seek arbitration. As stated, this notice is
20    “needed to correct the impression of waiver” when a party like Menzies “acts
21    inconsistently with ‘arbitration rights’ by its litigation practices in the courts.” Id.
22           By arguing that statements of its defense to class certification is enough to
23    preserve its right to arbitrate, Menzies conflates the elements of waiver with those of
24
25
      13
        Van Ness Townhouses v. Mar Industries Corp., 862 F.2d 754, 756, 759 (9th Cir. 1988) concluded
26    that the defendant acted inconsistently with its known arbitration right when it made an intentional
27    decision to refrain from filing a motion to compel arbitration (because it did not want to sever the
      arbitrable claims from the nonarbitrable claims), and litigated the arbitrable claims for two years in
28    federal court, including filing a motion to dismiss for failure to state a claim. See also Newirth v.
      Aegis Senior Cmtys., LLC, 931 F.3d 935, 941 (9th Cir. 2019), as cited in Hill, 59 F.4th at 471.

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 1    class certification requirements. These are apples and oranges. To preserve its right to
 2    arbitrate, Menzies had to do more than oppose class certification. Menzies’ failure to
 3    move and or provide notice of its intention to compel arbitration is fatal to its defense.
 4          I.     Menzies’ lame excuses for its active participation in litigation do not
 5                 negate the fact that it acted inconsistently with its right to arbitrate.
 6          Menzies cannot deny it actively litigated this case – it propounded and responded
 7    to class discovery; took and defended depositions; submitted reports and stipulations to
 8    this Court; and defended and pursued law and motion issues including its own partial
 9    summary judgment on the merits of arbitrable claims. Menzies now claims its all-out
10    participation in this litigation was driven by a need to avoid “facing discovery motions
11    and other allegations of discovery misconduct.” The argument is borderline absurd.
12          The truth is Menzies – a sophisticated litigant represented herein by experienced
13    class action attorneys – knows what to do in this situation. Instead of feigning
14    helplessness, it could have requested stay, notified the Court of its “true plan” to
15    arbitrate, or sought relief from its litigation or reporting obligations. Menzies could
16    have candidly informed the Court it wanted to limit its participation in litigation
17    because it intended to file a motion to compel arbitrate. That kind of transparency, and
18    even sincerity, would have allowed the Court to effectively manage the case, and decide
19    whether any of Menzies claimed excuses might justify holding arbitration in abeyance.
20    Menzies chose none of these options; it instead arrogated to itself a unilateral decision
21    to hold off on its motion to compel arbitration, and offers feeble excuses for it now.
22          J.     Seeking judicial determination of arbitrable claims is inconsistent with
23                 the right to arbitrate.
24          Menzies also mistakenly argues its Motion for Partial Summary Judgment
25    (“PSJ”) seeking to dismiss Labor Code 2802 wage claims sought relief only against
26    Amaya and Silva as individuals. Menzies’ representations, however, are belied by
27    arguments in its own PSJ. There, Menzies’ argued Plaintiffs’ reimbursement claims are
28    preempted because they require interpretation of Collective Bargaining Agreement

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 1    (“CBA”) language. To show its vain attempt to eradicate the wage claims of all
 2    unnamed members of the class, Menzies submitted all seven (7) CBAs relevant for all
 3    class members, not just the CBA applicable to named plaintiffs. See SUF 63-64.
 4           Menzies’ effort to understate the potential impact of its PSJ ignores the fact that
 5    this case is a class action. It is fundamental that Plaintiffs as class representatives are
 6    seeking wage reimbursements for other employees similarly situated. By asking this
 7    Court to defeat the claims of class representatives, Menzies at the same time sought to
 8    eliminate the claims of thousands of other unnamed employees in this case. See Hill, 59
 9    F.4th at 473. Its verbal contortions notwithstanding, Menzies consciously sought a
10    “favorable judicial ruling” on the merits of crucial class claims, plainly choosing not to
11    do so in arbitration. As in Hill, this choice to seek judicial judgment on the merits “was
12    inconsistent with the agreement to arbitrate those claims.” Id. at 474 and 476.
13           Menzies’ strategy has become clear. It pursued a strategy of attempting to benefit
14    from this litigation through a summary judgment that would eviscerate the claims
15    against it by an entire class, and in the process caused this Court and the parties to
16    spend extensive amounts of time and resources to adjudicate the issues. Failing to get its
17    desired outcome on its motion before this Court, Menzies now wants to keep an
18    arbitration option in its back pocket so it can take a second bite at the apple later before
19    an arbitrator. Menzies’ gamesmanship should not be allowed.
20    III.   CONCLUSION.
21           Menzies engaged in far-ranging litigation conduct throughout this case while
22    failing to enforce its right to arbitrate. Plaintiffs respectfully request the Court to find
23    waiver of Menzies contractual right to arbitrate and grant Plaintiff’s Motion.
24    Dated: May 9, 2024                LAW OFFICES OF C. JOE SAYAS, JR. and
25                                      KING CHENG MILLER & JIN LLP

26                                             By:      /s/ C. Joe Sayas, Jr.
27                                                    C. JOE SAYAS, JR.
                                                      KARL P. EVANGELISTA
28                                                    Attorneys for Plaintiffs

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 1                                 Local Rule 5-4.3.4(a)(2) Attestation
 2
 3              I, David P. King, hereby attest that all signatories listed above, and on whose
 4    behalf this filing is submitted, concur in the filing’s content and have authorized its
 5    filing.
 6
 7    May 9, 2024                                      /s/ David P. King
                                                       DAVID P. KING
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